Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 1 of 84 Page ID #:148
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 2 of 84 Page ID #:149




     1                     TABLE OF CONTENTS
     2 NATURE OF THE ACTION .................................................................................... 1
     3 JURISDICTION AND VENUE ................................................................................ 5
     4 PARTIES ................................................................................................................... 7
     5 SPECIFIC ALLEGATIONS REGARDING PLAINTIFFS ..................................... 9
    6 COMMON FACTUAL ALLEGATIONS .............................................................. 14
      A. Company Background ................................................................................... 14
    7
      B. A Monster Was Born..................................................................................... 15
    8
      C. Ingredients in Monster Energy® Branded Drinks ........................................ 16
    9
      D. Defendants’ Labeling, Advertising and Marketing of the Monster
   10    Energy® Branded Drinks Targets, Is Intended to and Does Connect
         Directly with Teenagers and Youth .............................................................. 18
   11
      E. The Labeling on Monster Energy® Branded Drinks Is Designed to Be
   12    Attractive to Adolescents and Youth ............................................................ 27
   13 F. Monster Cons Its Consumers into Believing that the Celebrities and
         Athletes Endorsing Monster Energy® Branded Drinks Are
   14    Consuming Such Drinks When They Are Not.............................................. 33
   15 G. Defendants’ Labeling, Advertising and Marketing of Their Monster
         Energy® Branded Drinks Is False and Misleading and Fails
   16    Adequately to Warn of Dangers of Frequent and Excessive
         Consumption ................................................................................................. 35
   17
      H. Defendants’ Failure to Properly Label Monster Energy® Branded
   18    Drinks Has Caused Serious Bodily Injury to Consumers and
         Continues to Pose a Danger .......................................................................... 46
   19
      I. Defendants Have Profited Immensely from Their False and
   20    Misleading Labeling and Advertising and Failure to Warn.......................... 51
   21 J.          The Company’s Energy Drink Labeling Continues to Be Under
                  Investigation .................................................................................................. 53
   22
         CLASS ACTION ALLEGATIONS ........................................................................ 58
   23
         COUNT I ................................................................................................................. 64
   24
         COUNT II ................................................................................................................ 68
   25
         COUNT III............................................................................................................... 70
   26
         COUNT IV .............................................................................................................. 72
   27
         COUNT V ................................................................................................................ 77
   28

         AMENDED COMPLAINT                                                                                                          i
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 3 of 84 Page ID #:150




     1 COUNT VI .............................................................................................................. 78
     2 PRAYER FOR RELIEF .......................................................................................... 79
     3 DEMAND FOR JURY TRIAL ............................................................................... 80
     4
     5
     6
     7
     8
     9
   10
   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

         AMENDED COMPLAINT                                                                                                     ii
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 4 of 84 Page ID #:151




     1        Plaintiffs Alec Fisher, Matthew Townsend, and Connor Rucks, by and
     2 through their undersigned counsel, bring this consumer class action on behalf of
     3 themselves and all others similarly situated, against defendants Monster Beverage
     4 Corporation (“MBC”) and Monster Energy Company (“MEC”) (collectively,
     5 “Defendants,” “Monster” or the “Company”). Plaintiffs’ allegations are based on
     6 information and belief formed after an inquiry reasonable under the circumstances
     7 and are likely to have evidentiary support after reasonable opportunity for further
     8 investigation and discovery, except where specifically so identified as being based
     9 on personal knowledge:
   10                            NATURE OF THE ACTION
   11         1.    This is a consumer class action seeking redress for Defendants’ unfair
   12 and deceptive business and trade practices on behalf of anyone who purchased for
   13 personal consumption any of the Monster Energy® branded energy drinks,
   14 including any of the following (hereinafter “Monster Energy® Branded Drinks”):
   15 Monster Energy®                      Java Monster® Kona Blend
   16 Lo-Carb Monster Energy®              Java Monster® Loca Moca®
      Monster Energy® Assault®             Java Monster® Mean Bean®
   17 Monster Khaos®                       Java Monster® Vanilla Light
      Monster M-80®                        Java Monster® Irish Blend®
   18
      Monster MIXXD®                       Java Monster® Toffee
   19 Monster Energy® Absolutely Zero      Monster Energy Extra Strength Nitrous
      Monster Energy® Import               Technology® Super Dry™
   20 Monster Energy® Import Light         Monster Energy Extra Strength Nitrous
   21 Monster Energy® Dub Edition Baller’s Technology® Anti-Gravity®
      Blend
   22 Monster Energy® Dub Edition Mad
      Dog
   23 Monster Rehab™ Tea + Lemonade + Monster Energy Extra Strength Nitrous
      Energy                               Technology® Killer B®
   24 Monster Rehab™ Rojo Tea + Energy
   25 Monster Rehab™ Green Tea + Energy Monster Energy Extra Strength Nitrous
      Monster Rehab™ Protean + Energy      Technology® Black Ice™
   26 Monster Energy® M3™ Super            X-Presso Monster® Hammer
      Concentrate
   27                                      X-Presso Monster® Midnite
   28                                      Übermonster® Energy Brew
                                                                                         1
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 5 of 84 Page ID #:152




     1        2.    Monster develops, markets, sells, and distributes beverages, soft
     2 drinks and “alternative” beverages in the United States and internationally.
     3 Monster is the largest energy drink maker by sales volume in the United States. In
     4 2010, the original Monster Energy® drink became the No. 1 selling energy drink
     5 in the United States. The Monster Energy® Branded Drinks represented 92.3%,
     6 91.2% and 89.9% of the Company’s net sales for the years ended December 31,
     7 2012, 2011 and 2010, respectively.
     8        3.    Defendants falsely or misleadingly label, market and advertise for sale
     9 a highly caffeinated concoction – the Monster Energy® Branded Drinks – as if it
   10 were a conventional beverage or food. The drinks are sold in colorful beverage-
   11 sized containers alongside soft drinks and juices.
   12         4.    Until recently the Company classified the Monster Energy® Branded
   13 Drinks as “dietary supplements” rather than as beverages or food precisely because
   14 such classification allowed it to avoid disclosing the powerful caffeine content of
   15 its drinks on its labels. Meanwhile even the Company’s public filings have never
   16 described the Monster Energy® Branded Drinks as dietary supplements but instead
   17 as “carbonated energy drinks.” Thus the Company engages in a deception: it
   18 produces a beverage that it knows and has acknowledged is a powerful dietary
   19 supplement, but it then markets the beverage to as wide an audience as possible –
   20 including children – as if it were an innocuous soft drink or juice.
   21         5.    The initial complaint in this matter filed on December 12, 2012,
   22 pointed out the irony that while Monster Energy® Branded Drinks (sold minimally
   23 in 16-oz. drink cans) were sold as a “dietary supplement,” the No. 2 energy drink
   24 Red Bull (sold in 8-oz. cans) is sold as a traditional beverage. ECF No. 1. Since
   25 then, on February 13, 2013, the Company announced that it was changing the
   26 labeling on its cans so that Monster Energy® Branded Drinks will no longer be
   27 considered dietary supplements, but rather a traditional beverage.
   28
                                                                                          2
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 6 of 84 Page ID #:153




     1        6.    Monster’s decision is a reluctant one. The Company really had no
     2 choice. The intense scrutiny on the Company’s labeling from the regulatory,
     3 government, congressional as well private sector seemed to have left Monster with
     4 little choice. Moreover, the 2009 Federal Drug Administration (“FDA”) guidance
     5 has noted that products that use terms such as “drink,” “juice” and “beverage”
     6 suggest they are conventional foods, rather than supplements. Coincidentally,
     7 Monster will now have a collateral benefit from changing its classification – the
     8 Company will no longer have to report adverse events that invariably end up in the
     9 Drug Abuse Warning Network (“DAWN”)1 reports recording the number of
   10 emergency room (“ER”) visits due to consumption of Monster Energy® Branded
   11 Drinks.2
   12         7.    Monster Energy® Branded Drinks contain a dangerously high amount
   13 of caffeine and other ingredients that have thus far not been subjected to any kind
   14 of pre-market review by any regulatory authority prior to them being put in the
   15 stream of commerce. Numerous scientific studies have shown that the consumption
   16 of large amounts of caffeine, in combination with other active ingredients like
   17 guarana, taurine, carnitine, sugar, among others, by consumers can have serious
   18 health consequences such as: insomnia, palpitations, tachycardia, hypertension,
   19 dehydration, kidney failure, headaches and other more serious health complications
   20 Yet, Monster knowingly or with reckless indifference, markets, advertises and sells
   21
   22   DAWN is a public health surveillance system that monitors drug-related
         1

      emergency
   23 of informationdepartment (ED) visits in the United States and can be used as a source
                         for assessing the more negative medical consequences associated
   24 with  consuming     energy drinks.
      2
        Many of the Monster Energy® Branded Drinks have the same caffeine content
   25 per  ounce, but some are slightly higher due to the same energy blend being used in
   26 stricter with
      drinks         less volume. The caffeine content is less per ounce in countries with
                caffeine laws such as Australia and New Zealand which indicates
   27 Defendants’
      consumption.
                       knowledge and awareness of the impact of excessive caffeine

   28
                                                                                          3
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 7 of 84 Page ID #:154




     1 Monster Energy® Branded Drinks as completely safe via playful/seductive
     2 advertising and strategic product placement to attract both youth and adults alike.
     3        8.    Internal Company documents demonstrate that Monster intends to
     4 reach out not only to the youth that it fails to warn, but also children as young as
     5 nine years old. See excerpts attached as Exhibit A. Since the label on Monster
     6 Energy Branded Drinks specifically states “Not recommended for children,” it
     7 begs the question, why market to children? Monster is the “Joe Camel” of the 21st
     8 century. California courts found that the Joe Camel campaign constituted an unfair,
     9 unlawful, and fraudulent business practice because it targeted minors, specifically
   10 holding that “the targeting of minors is oppressive and unscrupulous, in that it
   11 exploits minors by luring them into an unhealthy and potentially life-threatening
   12 addiction before they have achieved the maturity necessary to make an informed
   13 decision whether to take up smoking despite its health risks.”
   14         9.    A similar document was produced in the Joe Camel litigation, where
   15 the Vice President of Marketing for R.J. Reynolds told company executives of the
   16 importance of 14- to 24-year-old smokers, or the “young adult market.” According
   17 to the document, “They represent tomorrow’s cigarette business. As this 14-24 age
   18 group matures, they will account for a key share of the total cigarette volume-for at
   19 least the next 25 years.” Not unlike the tobacco industry in the 70’s and 80’s,
   20 Monster here recognized that the youth market represented the core of the existing
   21 and future of the Monster Energy® Branded Drink business market. Capturing it
   22 was the key to maintaining and growing market share for Monster.
   23         10.   Monster also knowingly and misleadingly perpetuates the perception
   24 that the Company’s celebrity musicians’ and athletes’ sponsors are actually
   25 consuming Monster Energy® Branded Drinks, when in fact, they are consuming
   26 water. Monster does this by creating imposter cans of Monster Tour Water that
   27 look exactly like the Monster Energy® brand, but are not sold to the general
   28 public. Monster Tour Water was created solely to influence the audience’s
                                                                                             4
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 8 of 84 Page ID #:155




     1 perception that their much-admired and beloved idols are drinking Monster
     2 Energy® Branded Drinks.
     3        11.   Just like Joe Camel, kids recognize Monster from the action sports
     4 and the music. Joe Camel always seemed to be on the move, riding motorcycles or
     5 joining racing tournaments, jamming with a jazz band, playing pool with his cool
     6 female Camel-buddies or just hanging out with other hip young camels.
     7        12.   Notwithstanding the high caffeine levels in Monster Energy®
     8 Branded Drinks and the scientific evidence of serious health risks these levels may
     9 pose for all consumers, especially adolescents and youth, Monster’s advertising,
   10 marketing and promotions expressly target the 13- to 24-age group and those
   11 efforts have been successful in capturing teenagers and other youth as intended.
   12 Yet, Defendants’ advertising and labeling fails miserably at providing any warning
   13 regarding the dangers of frequent or excessive consumption of Monster Energy®
   14 Branded Drinks.
   15         13.   As a result of the false and misleading labeling, marketing and
   16 advertising, and failure to warn of risks, the Company has profited immensely
   17 from its Monster Energy® Branded Drinks’ sales, capturing almost 35% of the
   18 market share and 35%of the youth market and generating sales of over $2.2 billion
   19 and just under $2 billion annually in 2012 and 2011, respectively.
   20                           JURISDICTION AND VENUE
   21         14.   This Court has jurisdiction over all the causes of action asserted
   22 herein. The Court has jurisdiction over the Magnuson-Moss Warranty Act
   23 (“MMWA”) claim pursuant to 28 U.S.C. §1331 because a federal question is
   24 involved and pursuant to 15 U.S.C. §2310(d) because (a) the amount in
   25 controversy of any individual claim may be less than the sum or value of $25.00;
   26 (b) the amount in controversy is greater than the sum or value of $50,000
   27 computed on the basis of all claims in the suit; and (c) the number of plaintiffs is
   28 more than 100. The Court has supplemental jurisdiction over state law claims
                                                                                         5
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 9 of 84 Page ID #:156




     1 under 28 U.S.C. §1367(a) as claims herein arise under the same set of facts
     2 comprising a single case or controversy.
     3        15.   This Court has jurisdiction over the subject matter presented by this
     4 complaint because it is a class action arising under the Class Action Fairness Act
     5 of 2005 (“CAFA”), 28 U.S.C. §1332, et seq., which explicitly provides for the
     6 original jurisdiction of the federal courts over any class action in which any
     7 member of the plaintiff class is a citizen of a state different from any defendant,
     8 and in which the matter in controversy exceeds in the aggregate the sum of $5
     9 million, exclusive of interest and costs.
   10         16.   More than two-thirds of the members of the class are citizens of a
   11 state other than California and, as set forth below, the Company is a citizen of
   12 California. Therefore, diversity of citizenship exists under CAFA, as required by
   13 28 U.S.C. §1332(d)(2)(A).
   14         17.   The total claims of the individual members of the class in this action
   15 are in excess of $5 million in the aggregate, exclusive of interest and costs, as
   16 required by 28 U.S.C. §1332(d)(2), (6).
   17         18.   As stated above, more than two-thirds of all of the members of the
   18 proposed class in the aggregate are citizens of a state other than California, where
   19 this action was originally filed, and the total number of members of the proposed
   20 class is greater than 100, pursuant to 28 U.S.C. §1332(d)(5)(B).
   21         19.   The Court has personal jurisdiction over Defendants because they
   22 have purposefully availed themselves of the privilege of conducting business
   23 within the State of California by marketing, advertising and selling the Monster
   24 Energy® Branded Drinks to Plaintiffs and members of the proposed class, as well
   25 as generally maintaining systematic and continuous business contacts within the
   26 State of California.
   27         20.   Venue is proper pursuant to 28 U.S.C. §1391(a) because the Company
   28 conducts substantial business in this District, has sufficient minimum contacts with
                                                                                         6
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 10 of 84 Page ID #:157




     1 this District, and otherwise purposely avails itself of the markets in this District,
     2 through the promotion, sale, marketing and administration of its products in this
     3 District. Filed concurrently with this complaint is the Declaration of Azra Z. Mehdi
     4 Pursuant to California Civil Code Section 1780(d) of the Consumer Legal
     5 Remedies Act (“CLRA”), Cal. Civ. Code §1750, et seq., which is incorporated by
     6 reference herein.
     7        21.   California has numerous contacts with the conduct alleged herein and
     8 a strong interest in applying its laws to that conduct. Monster is found, does
     9 business or transacts business within California. Monster maintains its principal
    10 offices, as well as agents, in California and is licensed to do, has done, and
    11 continues to do business in California. Defendants’ advertising, marketing, pricing,
    12 sales and distribution operations for their Monster Energy® Branded Drinks sold
    13 throughout the United States, which form the basis of this litigation, originated
    14 from and/or are controlled by, Defendants’ offices in California. In addition, the
    15 Company directly advertised, marketed and sold its energy drinks to consumers in
    16 California as well as the other states in the country. As such, California’s interest
    17 in applying California law in this litigation outweighs any interests other states or
    18 their laws may have.
    19                                      PARTIES
    20        22.   Plaintiff Alec Fisher (“Fisher”) is, and during the period relevant
    21 herein was, a citizen of California. Fisher currently resides in Baltimore, Maryland.
    22 Plaintiff has been purchasing and consuming a variety of the Monster Energy®
    23 Branded Drinks for the past five (5) years, since he was about 16 years old.
    24        23.   Plaintiff Matthew Townsend (“Townsend”) is and during the period
    25 relevant herein was a resident of Los Angeles County, California. Plaintiff
    26 Townsend has been purchasing and consuming a variety of the Monster Energy®
    27 Branded Drinks for the past six (6) years.
    28
                                                                                           7
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 11 of 84 Page ID #:158




     1        24.    Plaintiff Connor Rucks (“Rucks”) is, and during the period relevant
     2 herein was, a citizen of Florida who currently resides in Miami, Florida. Plaintiff
     3 has been purchasing and consuming a variety of the Monster Energy® Branded
     4 Drinks for the past nine (9) years, since he was about 17 years old.
     5        25.    Defendant Monster Beverage Corporation, f/k/a Hansen Natural
     6 Corporation (MBC), is a Delaware corporation with its principal place of business
     7 at 550 Monica Circle, Suite 201, Corona, California 92880. MBC is a publicly
     8 traded company whose stock trades on the NASDAQ under the ticker symbol
     9 MNST. MBC’s business is listed under the Consumer Goods category and
    10 identifies its operations as falling in the beverage and soft drink industry. MBC is a
    11 holding company that carries no operating business, except through its wholly
    12 owned subsidiaries. MBC through its subsidiaries, develops, markets, sells, and
    13 distributes alternative beverages in the United States and internationally.
    14        26.    Defendant Monster Energy Company, f/k/a Hansen Beverage
    15 Company (MEC), is a Delaware corporation with its principal place of business at
    16 550 Monica Circle, Suite 201, Corona, California 92880. MEC is a wholly owned
    17 subsidiary of MBC. MEC produces and distributes a variety of sodas, fruit juices,
    18 teas, energy drinks and waters. MEC conducts substantially all of MBC’s operating
    19 business and generates substantially all of the Company’s operating revenues.
    20        27.    The Company was engaged in and continues to be engaged in and
    21 responsible for the design, manufacture, production, testing, study, inspection,
    22 mixture, labeling, marketing, advertising, sales, promotion, and/or distribution of
    23 the various Monster Energy® Branded Drinks as described in ¶1, supra.
    24        28.    Plaintiffs are currently unaware of the true names, capacities, or basis
    25 for liability of defendants Does 1 through 20, inclusive, and therefore sue said
    26 defendants by their fictitious names. Does 1-20 are individuals, associations or
    27 corporations who/that are affiliated or related to the Company, who will be
    28 specifically identified and named as discovery progresses and their roles in the
                                                                                            8
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 12 of 84 Page ID #:159




     1 wrongdoing at issue is revealed. At all times mentioned in the Counts alleged
     2 herein, each and every defendant was an agent, representative, affiliate, or
     3 employee of each and every other defendant, and in doing the things alleged in the
     4 Counts stated herein, each and every defendant was acting within the course and
     5 scope of such agency, representation, affiliation, or employment and was acting
     6 with the consent, permission and authorization of the other defendants. During the
     7 relevant time period, Defendants agreed to misrepresent to Plaintiffs and class
     8 members the material facts at issue herein and/or not to notify class members about
     9 the scope and nature of the unfair and illegal business practices as detailed herein
    10 that resulted in injury in fact to Plaintiffs and members of the class, which
    11 misconduct is still on-going. All actions of each defendant, as alleged in the Counts
    12 stated herein, were ratified and approved by the other defendants or their respective
    13 directors, officers and/or managing agents, as appropriate for the particular time
    14 period alleged herein. Plaintiffs are informed and believe, and on that basis allege,
    15 that defendants Does 1 through 20, inclusive, and each of them, are in some
    16 manner liable to Plaintiffs, and/or are proper and necessary parties to this action in
    17 light of the relief requested. Plaintiffs will amend the complaint (if necessary) to
    18 allege their true names, capacities or basis for liability when the same have been
    19 ascertained.
    20              SPECIFIC ALLEGATIONS REGARDING PLAINTIFFS
    21 Plaintiff Alec Fisher
    22        29.     Plaintiff Fisher first consumed a Monster Energy® Branded Drink at
    23 the age of sixteen (16) when he was a junior in high school. The Company was
    24 parked outside his high school in trucks handing out free cans of Monster Energy®
    25 Branded Drinks to everyone. Fisher believed that Monster Energy® Branded
    26 Drinks were safe for consumption by persons of all ages since the guys in the
    27 Monster Energy® Branded Drink truck were not asking kids how old they were
    28 prior to handing out the Monster Energy® Branded Drinks. Further, Fisher saw
                                                                                            9
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 13 of 84 Page ID #:160




     1 nothing on the labeling of the Monster Energy Drink can that would lead him to
     2 believe that drinking the Monster Energy® Branded Drink could be bad for his
     3 health especially since he had also seen Monster trucks at various sporting events
     4 where the vendors doing the giveaways are generally presumed to be health-
     5 conscious. Had Fisher known these facts, he would not have accepted Defendants’
     6 freebie cans or subsequently continued to purchase and consume Monster Energy®
     7 Branded Drinks for years after.
     8        30.   Fisher has most frequently consumed the original Monster Energy®
     9 drink (hereinafter Monster Energy®) with the green tab and the Lo-Carb version.
    10 At various times, he also has consumed Absolutely Zero, Mixxed, Assault, Khaos
    11 as well as a number of other varieties depending on what varieties were available
    12 at the store or what varieties were on sale or had special offers. Going back five
    13 years, Fisher consumed an average of two to three cans per week, with that number
    14 going up significantly during the weeks prior to and during exams, as well as on
    15 the weekends when he needed to stay up late into the night to study or party. Fisher
    16 has mixed Monster Energy® Branded Drinks with alcohol at various times, which
    17 is commonly done in the college and university party scene.
    18 Plaintiff Matthew Townsend
    19        31.   Plaintiff Townsend has been purchasing and consuming a variety of
    20 the Monster Energy® Branded Drinks for the past six (6) years, since he was about
    21 37 years old. Townsend first tried the original “green M” Monster Energy® in
    22 early June 2007, which he purchased from a vitamin store. Townsend had never
    23 tried any energy drinks before even though he often saw his friends drinking Red
    24 Bull because he had always been repulsed by the smell. That particular morning,
    25 he had accompanied a friend to the store and was waiting for him while he
    26 purchased protein supplements to add to smoothies. Townsend recalled feeling
    27 weary and a little run-down that morning. While waiting for his friend to complete
    28
                                                                                         10
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 14 of 84 Page ID #:161




     1 his purchase, he was reading the labeling on a 16-oz. Monster Energy® Branded
     2 Drink and decided to try it.
     3        32.   Townsend was not repulsed by the smell of the Monster Energy®
     4 Branded Drink and he felt like he got an immediate energy boost. Within minutes,
     5 he felt stronger and less lethargic. A few days later when he was meeting a friend
     6 for their weekly coffee, he opted for a Monster Energy® Branded Drink instead of
     7 coffee. After drinking the Energy® Branded Drink, Townsend’s friend commented
     8 on and made fun of him because he was talking very fast. Townsend himself felt
     9 that everything was accelerated with the Monster Energy® Branded Drink boost.
    10 He noticed from the label that the Monster Energy® Branded Drink had lots of B
    11 vitamins listed as well as supplements like taurine and ginseng. He also read that
    12 one should not consume more than three cans a day. So, as time progressed,
    13 Townsend made sure to drink no more than three cans a day. He noticed as time
    14 progressed, however, that he had started depending on Monster Energy® Branded
    15 Drinks each morning to get him going and keep him going. Over the next five
    16 years or so, he was on a steady diet of Monster Energy® Branded Drinks.
    17 Townsend has tried every variety ever created, with his favorites being the NUT
    18 UP coffee blend, the M-80, and the original Monster Energy®. He has also tried
    19
       Monster Energy® shots, which he thought were convenient. Townsend was also
    20
       amused by Monster’s comments on the back of the cans, which he thought were
    21
       very clever.
    22
             33. In addition to drinking various Monster Energy® Branded Drinks,
    23
       Townsend frequently mixed the original “green M” Monster Energy® with
    24
       alcohol. It was common for him to see a good number of people at bars and parties
    25
       consuming alcoholic mixed drinks containing some type of energy drink. Some of
    26
       the more popular ones include: Jägerbombs, Irish car bombs, Hulks,
    27
       VodkaMonster, Monster rum, or a variant, like Mango (rum) Monsters, also known
    28
                                                                                       11
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 15 of 84 Page ID #:162




     1 as “Horni Monster,” a mix of Hornitos tequila and Monster Energy® Branded
     2 Drinks.
     3        34.   It became so common for Townsend’s friends to see him with a
     4 Monster Energy® Branded Drink in his hand, that they started gifting him Monster
     5 apparel and other merchandise for every occasion. Townsend’s addiction to
     6 Monster Energy® Branded Drinks resulted in him having serious health issues
     7 beginning in the summer of 2012. His heart frequently pounded too fast and he
     8 began to have chest pains. He also had trouble sleeping. He tried to cut back on the
     9 Monster Energy® Branded Drinks, but he found that skipping Monster Energy®
    10 Branded Drinks even one day caused him to have severe headaches from the lack
    11 of caffeine. He noticed that he would feel better shortly after he consumed a
    12 Monster Energy®. But, he observed that he continued to be constantly fatigued
    13 because he was unable to sleep well. He began to have mood swings and was
    14 cranky.
    15        35.   Sometime in September 2012, he became faint and feverish, and his
    16 heart felt like it was pounding through his chest. He tried to sleep but sensed that
    17 something was seriously wrong. He ended up going to the ER at a local hospital
    18 where he was prioritized for treatment once his vital signs were taken. The
    19 attending physicians and nurses took his blood pressure four times, and found that
    20 he was averaging 225 over 139, which, he was informed was critically high. Blood
    21 pressure readings such as these are indicative of Stage 3 hypertension or
    22 hypertensive crisis putting one in the highest risk category for heart attack, stroke
    23 and other acute life threatening problems. Townsend was admitted for the night
    24 and several tests were run, and many questions were asked of him, including
    25 several regarding his diet. He was then told by several physicians that his blood
    26 pressure was dangerously high, and that they would prescribe him something to
    27 help, but that he would have to cease drinking the Monster Energy® Branded
    28 Drinks altogether.
                                                                                          12
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 16 of 84 Page ID #:163




     1        36.   Upon Townsend’s release, he began the process of eliminating
     2 Monster Energy® Branded Drinks from his diet entirely, suffering severely
     3 through harsh headaches. It has been a very difficult process because Townsend
     4 feels he was addicted to the Monster Energy® Branded Drinks. Although his blood
     5 pressure has lowered significantly, he feels his body still craved for Monster
     6 Energy® Branded Drinks on a regular basis. All told, Townsend believes that he
     7 had consumed well over 4,000 cans of Monster Energy® Branded Drinks. Based
     8 on the labeling, Townsend believed that Monster Energy® Branded Drinks were
     9 safe for consumption in the manner that was identified on the labeling of the cans.
    10 He never exceeded the limit set on the Monster Energy® Branded Drink cans.
    11 Townsend saw nothing on the labeling of the Monster Energy® Branded Drink
    12 cans that would lead him to believe that drinking the Monster Energy® Branded
    13 Drinks consistent with the labeling on the cans could be bad for his health and in
    14 fact result in him having Stage 3 hypertension and other health related concerns.
    15 Had plaintiff Townsend known these facts, he would not have purchased and
    16 consumed Monster Energy® Branded Drinks.
    17 Plaintiff Connor Rucks
    18        37.   Plaintiff Rucks began consuming Monster Energy® Branded Drinks
    19 when he was seventeen (17) and a junior in high school. Rucks has consumed
    20 Monster Energy® with the green tab and the Lo-Carb version most frequently. At
    21 various times, he also has consumed other varieties. Going back nine years, Rucks
    22 consumes an average of five to six cans per week, with that number going up
    23 significantly during the weeks prior to and during exams, as well as on the
    24 weekends. Rucks believed that Monster Energy® Branded Drinks were safe for
    25 consumption by persons of all ages. Further, Rucks saw nothing on the labeling of
    26 the Monster Energy® can that would lead him to believe that drinking it could be
    27 bad for his health. Had Rucks known these facts, he would not have purchased and
    28 consumed Monster Energy® Branded Drinks.
                                                                                        13
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 17 of 84 Page ID #:164




     1
     2
     3                       COMMON FACTUAL ALLEGATIONS
     4 A.     Company Background
     5        38.   Monster’s beverage business is divided into (i) Direct Store Delivery
     6 (“DSD”), whose principal products comprise Monster Energy® Branded Drinks,
     7 and (ii) Warehouse, whose principal products comprise juice based and soda
     8 beverages under many different brand names. The Company generated $2.4
     9 billion, $1.95 billion, $1.5 billion and $1.3 billion in gross sales in 2012, 2011,
    10 2010 and 2009, respectively. The vast majority of Monster’s gross sales are
    11 derived from their Monster Energy® Branded Drinks division. In 2012, $2.21
    12 billion in gross sales was attributable to the Monster Energy® Branded Drinks. In
    13 2012, the Company sold two billion-plus cans of Monster Energy® Branded
    14 Drinks in the United States and elsewhere. During the period relevant herein,
    15 92.3%, 91.2% and 89.9% of the Company’s net sales for 2012, 2011 and 2010,
    16 respectively, were attributable to the Monster Energy® Branded Drinks division.
    17 The Company acknowledges that any decrease in sales of Monster Energy®
    18 Branded Drinks could have a significant adverse effect on the Company’s
    19 revenues and income.
    20        39.   Monster Energy® Branded Drinks are the number one top selling
    21 energy drinks worldwide. Although energy drinks generally make up only a tiny
    22 portion of the entire beverage market, it is the fastest-growing segment. The
    23 growth of energy drinks is directly attributable to its popularity among pre-teens
    24 and teens. Energy drink sales rose by more than 16% in 2011 and Monster was in
    25 the lead with 35% of the market.
    26        40.   In fact, to capitalize on the success of its Monster Energy® Branded
    27 Drinks, the Company which used to be known as the Hansen Natural Corporation
    28 and Hansen Beverage Company (collectively, “Hansen”), officially changed its
                                                                                        14
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 18 of 84 Page ID #:165




     1 name to Monster Beverage Corporation and Monster Energy Company,
     2 respectively, on January 5, 2012.
     3 B.     A Monster Was Born
     4        41.   In the mid-90’s, after narrowly escaping bankruptcy, the Company
     5 hired Mark Hall (“Hall”) as President of the MEC division. Hall is credited as
     6 being the energy behind Monster Energy® Branded Drinks. Hall’s skill as a
     7 marketer and branding strategist helped Monster claw its way to the top of the
     8 energy drink pile.
     9        42.   In the late 90’s, Company CEO Rodney Sacks (“Saks”) and President
    10 Hilton Schlosberg, realized that there was a disconnect between the Company’s
    11 natural line and energy brands. They worked with Hall to branch out from the
    12 Hansen’s trademark and develop an energy drink that could effectively go after the
    13 proper demographic. In an interview, Sacks said,
    14        We walked that tightrope for many years and eventually came to the
    15        decision that if we were going to make a real impression in this
    16        category, we needed to create a brand that really spoke for, looked
    17        like and conveyed what the category really wanted, what young, male
    18        consumers really wanted and felt like. . . . It’s their lifestyle. So
    19        when Monster was born we were able to do things such as go into
    20        extreme sports. It just never was possible before.
    21        43.   As a name, “Monster” seemed most appropriate to the Company’s
    22 executives because it was aggressive and with a motto like “Unleash the beast”
    23 conveyed what the Company’s targeted young, male consumer really wanted.
    24 Indeed, the Company reportedly selected the name “Monster Energy” after
    25 consulting with a focus group of teenage males.
    26        44.   Monster’s logo with its sinister-looking claw marks, in bright neon
    27 green against a black background are unmistakable – not unlike the cigarette
    28 company RJR Reynolds’ “Joe Camel” logo. Some reports indicate that the
                                                                                       15
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 19 of 84 Page ID #:166




     1 Monster’s neon green claw logo ranks close behind the boogeyman or
     2 Frankenstein. Now, that’s brand recognition.
     3        45.    Few people dispute the “cool factor” of Monster Energy® Branded
     4 Drinks. This is by design and Monster’s marketing team has done a phenomenal
     5 job through sports, music, sex, girls and partying to inject Monster Energy®
     6 Branded Drinks into the lifestyle of its consumers. Indeed, internally Defendants
     7 describe the Monster Energy® Branded Drinks as “lifestyle in a can.”
     8 C.     Ingredients in Monster Energy® Branded Drinks
     9        46.    The “cool factor” and the energy boost associated with energy drinks
    10 have resulted in a massive surge in their popularity in recent years. Although all
    11 age and gender groups consume energy drinks, they are especially popular among
    12 high school and college students.
    13        47.    The most common ingredient in energy drinks, including in Monster
    14 Energy® Branded Drinks, is caffeine, which is often combined with taurine,
    15 glucuronolactone, L-carnitine, guarana, and B vitamins to form what is referred to
    16 by the Company as a “proprietary energy blend.” Until recently, Monster neither
    17 listed caffeine as an official ingredient, nor was the amount of caffeine identified.3
    18        48.    Energy drinks often contain additional amounts of caffeine through
    19 additives, including guarana (Brazilian cocoa), kola nut, yerba mate, and cocoa.
    20 Guarana (Paullinia cupana) is a plant that contains caffeine, theobromine (a
    21 chronotrope), and theophylline (an inotrope). Each gram of guarana can contain 40
    22 to 80 mg of caffeine and has a potentially longer half-life because of interactions
    23 with other plant compounds. According to a February 2013 article by the American
    24
    25 3 As detailed herein, on February 13, 2013, Monster announced that the Company
    26 was  changing the labeling on its Monster Energy® Branded Drink cans so that
       they will no longer be considered dietary supplements, a move that changes the
    27 federal guidelines the drinks must follow. The cans will now have to list “Nutrition
       Facts” rather than “Supplement Facts,” as well as disclose caffeine content.
    28
                                                                                            16
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 20 of 84 Page ID #:167




     1 Academy of Pediatrics, Vol. 34, No. 2., entitled, “Energy Drinks: What Teenagers
     2 (and their Doctors) Should Know” (“February 2013 AAP Article”),
     3        when an energy drink lists its caffeine content, it is usually not taking
     4        into account the guarana, which has been reported to exert a more
     5        prolonged effect than an equivalent amount of caffeine. In reality,
     6        when a drink is said to contain caffeine plus guarana, it contains
     7        caffeine plus more caffeine. Guarana has not been evaluated by the
     8        FDA for safety, effectiveness, or purity.”
     9 February 2013 AAP Article at 57. Monster Energy® Branded Drinks contain
    10 guarana. Coffee does not contain guarana.
    11        49.   Taurine is another common ingredient in Monster Energy® Branded
    12 Drinks. Taurine is one of the most abundant amino acids in the human body, which
    13 generally manufactures taurine on its own from other amino acids. Only infants
    14 and sick adults must obtain taurine from outside sources. According to the
    15 February 2013 AAP Article, “[t]he amount of taurine consumed by regular intake
    16 of energy drinks far exceeds the amount in a normal diet (40-400 mg/day) . . . .
    17 Some data from animal models suggest that taurine might minimize some of the
    18 adverse effects of alcohol consumption and could, by extension, encourage greater
    19 alcohol consumption.” Id. at 58. Coffee does not contain taurine.
    20        50.   Another ingredient in Monster Energy® Branded Drinks is ginseng, a
    21 root most commonly found in East Asia. According to the February 2013 AAP
    22 Article, ginseng has been linked to adverse events such as insomnia, palpitations,
    23 tachycardia, hypertension, edema, headache, vertigo, mania, and estrogen-like
    24 effects, such as breast tenderness and amenorrhea. Coffee does not generally
    25 contain ginseng.
    26        51.   Monster Energy® Branded Drinks also contain other ingredients (e.g.,
    27 B vitamins, glucuronolactone, Yohimbe, carnitine, and bitter orange) which
    28 purport to have certain positive effects, but most of the beneficial claims about
                                                                                          17
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 21 of 84 Page ID #:168




     1 these ingredients lack sufficient scientific evidence according to the recent AAP
     2 article. Coffee does not generally contain these ingredients.
     3        52.   Moreover, unlike coffee, which offers caffeine in a relatively
     4 straightforward format, it is this combination of ingredients noted above or the so-
     5 called “proprietary energy blend” factor in Monster Energy® Branded Drinks that
     6 can be harmful if consumed frequently or even in the daily limit recommended by
     7 Monster on a regular or daily basis.
     8 D.     Defendants’ Labeling, Advertising and Marketing of the Monster
     9        Energy® Branded Drinks Targets, Is Intended to and Does Connect
    10        Directly with Teenagers and Youth
    11        53.   Defendants designed the marketing, advertising and labeling of the
    12 Monster Energy® Branded Drinks for an intended audience of adolescents and
    13 youth. A 2009-2010 internal Monster marketing document acknowledges that its
    14 target consumer is “Generation Y: Born between 1985-2000.” Excerpted document
    15 attached hereto as Exhibit A. Defendants essentially admit in internal documents
    16 that their marketing is geared to the 9-15 year olds, or as the Company identifies
    17 them “Trophy Kids, Mypods, Digital Generation.” Defendants go on to describe
    18 Generation Y as “Non-conformists who feel entitled, very opinionated, skeptical of
    19 everything, multi-taskers with short attention spans, voracious consumers of
    20 information from sources simultaneously.” Id. Accordingly, the Company
    21 customized its approach to associate with the Generation Y lifestyle, including
    22 “influencing the image makers who influence their peers.” Monster Energy
    23 characterizes its brand as follows: “Monster represents a lifestyle. Monster is
    24 aggressive, cool, sinister, dark, mysterious and fun. Monster is about action sports,
    25 punk rock music, partying, girls, and living life on the edge.”
    26        54.   The Company eschews mainstream advertising on TV, radio, and
    27 billboards, instead sponsoring huge extreme sporting events – skateboarding,
    28 motorcycle racing, surfing, NASCAR racing, professional bull riding – and music
                                                                                          18
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 22 of 84 Page ID #:169




     1 festivals as well as getting endorsements from music celebrities and popular sports
     2 figures. The core of Defendants’ marketing strategy is prize promotions, price
     3 promotions, competitions, endorsements from selected public and extreme sports
     4 figures, personality endorsements (including from TV and other well-known sports
     5 personalities), coupons, sampling and sponsorship of selected causes, events,
     6 athletes and teams.
     7        55.   Monster’s unique marketing approach has resulted in Monster
     8 Energy® Branded Drinks becoming No. 1 in energy-drink convenience-store sales,
     9 generating over $2.2 billion and $1.8 billion in revenue in 2012, and 2011
    10 respectively, and taking market share away from its closest competitor, Red Bull.
    11        56.   The Company admits in its public filings that its sales and marketing
    12 strategy is to develop “brand awareness through image enhancing programs and
    13 product sampling.” Monster uses branded and other promotional vehicles at events
    14 and schools where it hands out samples of Monster Energy® Branded Drinks to
    15 consumers. Similarly, the Company goes into small local towns and cities – at
    16 sports and music festivals – handing out Monster Energy® Branded Drinks to
    17 everyone – age being no bar to the freebie handout.
    18        57.   Defendants’ marketing of Monster Energy® Branded Drinks aimed to
    19 seduce this audience is channeled through extreme sports, Monster Girls and music
    20 festivals.
    21        58.   Extreme sports or X-Games have been associated with youth since
    22 inception. X-Games and other extreme sports festivals draw a hard-to-reach
    23 demographic – males, ages 12 to 24. These games represent far more than just a
    24 sports competition – they are mass marketing and media strategies, tie-ins to
    25
       music, fashion, and product endorsements. According to an audience study of
    26
       on-site X-Games attendees performed by a Newport-based sponsorship market
    27
       research company, the average age at the X-Games was 20 years old with over two
    28
                                                                                           19
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 23 of 84 Page ID #:170




     1 thirds (66%) of the attendees under 21. Recognizing this fact, major corporations,
     2 including Monster, are tapping into extreme sports because they attract a very hard
     3 to reach market: youths, ages 12 to 24 with a potential spending market estimated
     4 at several hundreds of billions of dollars a year.
     5        59.   When Monster was getting its start, MEC President Hall and his team
     6 offered on-the-spot cash sponsorships to X-Game athletes. Now the Monster
     7 Energy® Brand is ingrained in the action sports tournament world. Recently on
     8 March 2, 2013, Monster Energy rider Ayumu Hirano took second place at the
     9 Burton U.S. Open Snowboarding Championship held in Vail Mountain, Colorado
    10 and first place at the 2013 Burton European Open Halfpipe Finals in Laax,
    11 Switzerland in February 2013. Ayumu Hirano is 14 years old.
    12        60.   Monster’s use of the Monster Girls in its marketing campaigns is an
    13 acknowledgment that the lure of sex is a quick and powerful way to convey your
    14 product message. Reproduced below are screen shots of the Monster Girls from the
    15 Company’s website – beautiful, sexy and scantily clad young women. What
    16 sexually curious adolescent male (i.e. the Company’s focus group) would not be
    17 drawn to Monster Energy® Branded Drinks with this kind of marketing?
    18 Moreover, women wanting to either be a part of the Monster Girls’ crew or to meet
    19 guys are also getting sucked into the Monster vortex.
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                                                        20
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 24 of 84 Page ID #:171




     1
     2
     3
     4
     5
     6
     7
     8
     9
    10
    11        61.   Companies frequently use sex to sell their products, but Monster and
    12 its executives have elevated the use of women and sex to sell Monster Energy®
    13 Branded Drinks to an art form. For example, the MEC link to Monster Girls
    14 includes     videos   entitled,     “SX    ED:   Episode    2”      available   at:
    15 http://www.monsterenergy.com/#!/news%3Asx-ed-episode-2.
    16        62.   Other examples of such provocative videos include:
    17              http://www.monsterenergy.com/monstergirls/                  and
    18              http://www.monsterenergy.com/us/en/events/#!/events%3A201
    19              3-monster-energy-ama-supercross.
    20        63.   In addition, Monster employs a man named Ash Hodges, whose title
    21 is the Motorsports Marketing Manager and part of his responsibilities for the
    22 Company includes making, recording and maintaining a website called
    23 www.dirtshark.com. Below is an image of a recording entitled, “Dirt Shark: 2013
    24 Monster         Energy            Supercross     Girls”          available      at
    25 http://www.youtube.com/watch?v=jAT7ixWylV8. A portion of the video is
    26 transcribed below. The young man flanked by the scantily clad Monster Girls is a
    27 teenager.
    28
                                                                                       21
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 25 of 84 Page ID #:172




     1
     2
     3
     4
     5
     6
     7
     8
     9
    10
    11
    12        Monster Girl #1: “You want to fondle our oranges?”
    13        Monster Girl #2: “Heeeeyyy.”
    14                                    [Video Cut]
    15        Monster Girl #1: “ADAAAAMMM . . .. with the Monster Girls.”
    16        Dirt Shark: “You going to come to the [big race]?”
    17        Adam:       [Laughing] “Dude, you dive bombed me. You dive
    18                    bombed me. You dive bombed me.”
    19        Dirt Shark: “Yeah, I brought them over for you.           How’re you
    20                    doing?”
    21        Adam:       “I’m doing really well now.”
    22        Monster Girl #1: “Hey, we have a question for you. Do you want to
    23                    fondle our oranges?”
    24        Monster Girl #2: “Cassie, he’s not 18 yet. He can’t fondle oranges.”
    25        Monster Girl #1 (Cassie):      “Just kidding.”
    26        Adam:       “Just a couple more years and I’d love to.”
    27                                 [Quick video cut]
    28
                                                                                     22
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 26 of 84 Page ID #:173




     1        Adam:        “You caught me off guard. I really don’t know what to
     2                     say right now. I’m speechless. I’m a [dork].”
     3        64.    A recent video on the Dirt Shark website entitled “A Sharklet Tale”
     4 has two Monster Girls Gemma Lee Farrell and Tara Beaulieu in very skimpy
     5 bikinis, slathering sun tan lotion on their bodies while they drink a Monster
     6 Energy® Branded Drink. They are wearing Monster Energy® Branded Drink and
     7 Dirt Shark logo bikinis and Green M logo jewelry. Dirt Shark poses the question:
     8 “What is a Sharklet? One of the Monster Girls answers: “A Sharklet is an
     9 unconventional girl. Someone who likes to get naked and have a good time. We
    10 like to party.”
    11        65.    Many other similar examples are available at the following link:
    12 http://www.dirtshark.com/us/en/videos/. These videos are paid for by Monster and
    13 the messages are approved and condoned by the Company. Monster, thus, uses sex
    14 and girls to obfuscate the Company’s failure to warn of the risks inherent in the
    15 consumption of its energy drinks.
    16        66.    The Company’s promotions offering “free” Monster gear are
    17 remarkably similar to the now-banned Joe Camel promotional advertising, which
    18 included among other things, merchandise such as caps, jackets, and mugs that
    19 could be “bought” with redeemed “Camel Cash.” Defendants are following this
    20 exact formula here – Monster’s promotions require a person to “Drink Monster,”
    21 “Save Tabs,” and “Trade for Gear. See below. The gear includes Monster-branded
    22 clothing and apparel, accessories as well as the Monster Girl 18-Month Calendar.
    23 Monster even has apparel and stickers for kids.
    24
    25
    26
    27
    28
                                                                                      23
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 27 of 84 Page ID #:174




     1
     2
     3
     4
     5
     6
     7
     8
     9
    10
    11
               67.   In this manner, Defendants not only encourage, but aggressively
    12
         promote the consumption of Monster Energy® Branded Drinks by people of all
    13
         age groups. For example, in order to get a “free” Monster Beanie (with the
    14
         florescent Monster logo) or a short-sleeve T-shirt, one has to consume and send in
    15
         30 Monster Energy® Branded Drink tabs!! A hoodie demands consumption of 75
    16
         Monster Energy® Branded Drinks!! So, in effect, the gear is not actually “free.”
    17
         One has to pay for and consume a monstrous quantity of Monster Energy®
    18
         Branded Drinks to get anything.
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                                                         24
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 28 of 84 Page ID #:175




     1
     2
     3
     4
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25        68.   The “Monster Music” and “Monster Gaming” Facebook pages are
    26 most popular with persons ages 13-17. Indeed, the Monster Army website
    27 sponsored by Defendants purports to be an “athlete development program that
    28 currently focuses on supporting up and coming athletes ages 13-21 in moto, bike,
                                                                                     25
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 29 of 84 Page ID #:176




     1 snow, skate, surf and wake,” and invites “13-21” year-old action sports athletes to
     2 apply for sponsorships, and ages 13-24 is the most popular age group of those who
     3 “Like” the “Monster Army” on Facebook. Monster Army is the Company’s athlete
     4 development program that supports athletes ages 13-21 in moto, bike, skate, surf,
     5 snow and wake. Athletes from all over the world are evaluated and invited into the
     6 program           to       represent        the       Monster         brand.          See
     7 http://www.monsterarmy.com/programs/, reproduced below:
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
               69.    In keeping with a young fan-base, the Company has nurtured a strong
    20
         following on social networks. It counts over 21 million enthusiasts on Facebook
    21
         and has over 507,000 Twitter followers. The Company, thus, specifically targets
    22
         the 13-21 age group in its marketing and advertising knowing full well that the
    23
         fans of the athletes in this age group will most likely also be 13-21 or younger.
    24
               70.    Jeff Cioletti, editor of industry trade publication Beverage World,
    25
         attributes Monster Energy® Branded Drinks’ success to the Company “knowing its
    26
         audience and finding a way to connect with them, in what they perceive as an
    27
         authentic way, and not talking down to them.” On the Company’s marketing
    28
                                                                                              26
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 30 of 84 Page ID #:177




     1 strategy, Mark Hall, President of MEC remarked: “There has to be some
     2 connection with the consumer – they have to feel good about what they hold in
     3 their hand and that’s the elusive part of marketing.”
     4        71.   There is no question that the Company has done a remarkable job of
     5 connecting with its young audience. According to a 2011 article by the American
     6 Academy of Pediatrics, 30% to 50% of adolescents and young adults consume
     7 energy drinks.
     8        72.   Ads in magazines and on billboards with slogans like “unleash the
     9 beast” and “the meanest energy supplement on the planet” ensure that consumers
    10 have brand awareness. And one certainly cannot miss Monster Energy® Branded
    11 Drinks on the shelves; with the goth-inspired logo, lurid colors, and names like
    12 Java Monster, Lo-Carb Monster, Monster Rehab, and others, they tend to stand
    13 out. And Defendants’ banners adorn pretty much every big extreme sports event.
    14 The “coolness factor” i.e. sports and sex, and the caffeine in Monster Energy®
    15 Branded Drinks are what the Company is banking on to keep its consumers coming
    16 back for more.
    17 E.     The Labeling on Monster Energy® Branded Drinks Is Designed to Be
    18        Attractive to Adolescents and Youth
    19        73.   The label on a can of Monster Energy® Branded Drinks states:
    20              Tear into a can of the meanest energy
    21              supplement on the planet, Monster energy.
    22              It’s the ideal combo of the right
    23              ingredients in the right proportion to
    24              deliver the big bad buzz that only
    25              Monster can.
    26              Monster packs a vicious punch but has a
    27              smooth flavor you can really pound down.
    28              Athletes, musicians, anarchists, students,
                                                                                     27
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 31 of 84 Page ID #:178




     1                road warriors, metal heads, nihilists,
     2                geeks, hipsters, bikers, and milfs dig it.
     3                You will too.
     4
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
         It is commonly known that MILF is an acronym for “Mother/Mom I’d Like to
    20
         F*#k.” See en.wikipedia.org/wiki/MILF. Given the heavy focus of the Company’s
    21
         use of sex to sell its Monster Energy® Branded Drinks, one need not extend one’s
    22
         imagination too far to ascertain the message the Company is conveying with
    23
         labeling like that. Yet again, Monster relies on strong sexual references to distract
    24
         its consumers from the health risks of its products.
    25
               74.    In its web advertising, the Company also states: “It’s a wicked mega
    26
         hit that delivers twice the buzz of a regular energy drink.” The Company’s repeated
    27
         reference to “buzz,” a term generally used to describe the intoxicating effect one
    28
                                                                                            28
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 32 of 84 Page ID #:179




     1 has from drinking alcohol, gives the impression to the consumer that Monster
     2 Energy® Branded Drinks can similarly deliver the intoxicating feeling that comes
     3 from drinking alcohol.
     4         75.   Consumers may, thus, falsely believe that “more is better” and ingest
     5 multiple servings of the energy drinks. Moreover, since there are no restrictions on
     6 the sale of energy drinks, adolescents and children (who may be inexperienced and
     7 less tolerant to the effects of caffeine) may be at an increased risk for caffeine
     8 intoxication. Indeed, the Company’s 24-oz. can of the original Monster Energy®
     9 states: “[B]igger is better . . . because you can never get too much of a good thing.”
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
               76.   Commentators who are in awe of the Company’s and its executives’
    25
         success nevertheless remarked that MEC President Hall “push[es] the envelope on
    26
         the core Monster brand, with a gigantic, 24-oz. can called Monster BFC (“big
    27
    28
                                                                                           29
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 33 of 84 Page ID #:180




     1 freakin’ can”). As is typical for this cagey brand, it’s hard to know whether the
     2 tagline is warning kids not to chug the full 24 ounces, or daring them to do it.”
     3        77.   Some examples of the labeling and advertising for the Company’s
     4 other energy drinks that convey similar messages include:
     5                       LO-CARB Slogan: Tear into a can of the meanest
     6                        energy      supplement   on    the   planet,   Lo-Carb
     7                        MONSTER energy. We went down to the lab and
     8                        performed major surgery on the Monster. We hacked
     9                        out carbohydrates and calories, transplanted the
    10                        wicked Buzz and dialed in the flavor. Lo-Carb
    11                        MONSTER energy still delivers twice the Buzz of a
    12                        regular Energy drink, but only has a fraction of the
    13                        calories.
    14                       Cuba Lima Monster Energy Slogan: As legend has it
    15                        a buzzed up Cuban hears his country has been
    16                        liberated holds up his drink, yells “CUBA-LIBRE”
    17                        and the famous cocktail is born. As big fans of the
    18                        drink we decided to make our own, substituting our
    19                        tried and true energy blend for the alcohol and
    20                        adding a squeeze of sweet lime. We know it sounds
    21                        crazy but don`t knock it till you try it. You`re gonna
    22                        love it cause it`s a new kind buzz. Energy Liberated!
    23                       Übermonster Monster Energy Slogan: Über: (oo-ber)
    24                        From the German meaning superior, above the norm,
    25                        or the ultimate. No regular bottle could handle this
    26                        evil energy brewski. So we designed our own with the
    27                        biggest chugger friendly wide mouth we could make.
    28
                                                                                           30
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 34 of 84 Page ID #:181




     1                       The big ass cap is a little hard to pry off, but it’s sorta
     2                       like, if you can’t open it you shouldn’t be able to
     3                       drink it! Cheers, This energy brew’s for you!
     4                      M3 Monster Energy Slogan: This little bottle of super
     5                       concentrated Monster madness packs a 16oz. punch
     6                       into only 5oz. of liquid. Our unique nitrous
     7                       technology mellows out the flavor. A shot it’s not . . .
     8                       but then you don’t have to plug your nose to drink
     9                       it!
    10                      Super Dry Nitrous Slogan: Don’t let the skinny can
    11                       fool you, Monster Extra Strength packs our biggest
    12                       punch! Call us crazy, but we supercharged our
    13                       Monster Energy base then injected it with Nitrous
    14                       Oxide for a unique texture, smooth drinkable flavor
    15                       and buzz that’s bigger than ever. This is no “Whip-
    16                       it” but it will whip you good…
    17                      Green Tea Rehab Slogan: Our friends at the Rehab
    18                       pool party in Vegas know all about recovering from
    19                       a long night and together we came up with Monster
    20                       Rehab® Green Tea + Energy. Naturally loaded with
    21                       EGCG antioxidants, infused with coconut water,
    22                       quercetin, acai berry and goji berry. Monster Rehab®
    23                       Green Tea + Energy delivers a triple threat that
    24                       quenches thirst, hydrates like a sports drink, and
    25                       brings you back after a hard day`s night. Monster
    26                       Rehab® Green Tea + Energy: RE-FRESH, RE-
    27                       HYDRATE, RE-VIVE, or in other words, Re-
    28
                                                                                           31
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 35 of 84 Page ID #:182




     1                       habilitate with a killer mix of green tea, pineapple
     2                       juice, electrolytes, and our bad-ass Monster Rehab®
     3                       energy blend to fire you up. Rehab The Beast!
     4                      Tea+Lemonade Rehab Slogan: While chillin’ at the
     5                       Vegas Rehab® pool party, contemplating a cure for
     6                       cotton mouth, admiring the flesh parade, and
     7                       pondering the wisdom of doubling down when the
     8                       dealer shows a face card, it HIT ME! We need a new
     9                       drink. One that can do it all – a triple threat that
    10                       quenches thirst, hydrates like a sports drink, and
    11                       brings you back after a hard day’s night. Monster
    12                       Rehab: Re-Fresh, Re-hydrate, Re-store, or in other
    13                       words, Re-habilitate with a killer mix of tea,
    14                       lemonade, electrolytes, and our bad-ass Rehab®
    15                       energy blend to fire you up. Rehab the Beast!
    16        78.   In sum, the Company’s labeling conveys that Monster Energy®
    17 Branded Drinks
    18                      have some magic formula with “the right ingredients
    19                       in the right proportion;”
    20                      deliver “a big bad buzz” like you get from drinking
    21                       alcohol; and
    22                      can make you part of the “cool” or “Über-cool”
    23                       crowd.
    24
    25
    26
    27
    28
                                                                                    32
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 36 of 84 Page ID #:183




     1 F.     Monster Cons Its Consumers into Believing that the Celebrities and
     2        Athletes Endorsing Monster Energy® Branded Drinks Are Consuming
     3        Such Drinks When They Are Not
     4        79.   Monster’s conduct in connection with marketing its Monster Energy®
     5 Branded Drinks demonstrates its knowledge and awareness that Monster Energy®
     6 Branded Drinks are not as safe for consumption as Defendants represent. One
     7 example is the use of Monster Tour Water for the Company’s celebrity musician
     8 and athlete endorsers instead of Monster Energy® Branded Drinks.
     9        80.   Few, if any, of the celebrity product endorsers actually consume the
    10 Monster Energy® Branded Drinks that they endorse. The trainers for the celebrity
    11 athletes do not want their athletes consuming Monster Energy® Branded Drinks
    12 because of the high amounts of caffeine and other ingredients that could be
    13 harmful to their clients. Similarly, the managers for celebrity musician endorsers
    14 who perform at Monster’s annual summer music concerts, the Warped Tours, also
    15 do not want their clients consuming large quantities of Monster Energy® Branded
    16 Drinks during the hot summer days.
    17        81.   Defendants thus came up with the idea of Monster Tour Water, which
    18 is a way for the Company to advertise Monster Energy® Branded Drinks while the
    19 musicians and athletes are performing. Monster Tour Water looks exactly like the
    20 Monster Energy® Branded Drinks. Tour Water comes in the same black can with a
    21 green claw logo as the Monster Energy® Branded Drinks. The only difference is
    22 that instead of “Energy Drink,” it says “Tour Water” in small print.
    23
    24
    25
    26
    27
    28
                                                                                       33
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 37 of 84 Page ID #:184




     1
     2
     3
     4
     5
     6
     7
     8
     9
    10
    11
    12
    13        82.    While the consumers’ perception is that their much admired musicians

    14 or athletes and their entire staff is thirstily consuming Monster Energy® Branded
    15 Drinks, they are in fact, drinking plain old water put in a Monster Energy® can.
    16 One needs to be up close and personal in order to determine that the can in the
    17 hands of the celebrity endorser is not a Monster Energy® Branded Drink, but in
    18 fact water. However, security at these events is often tight and fans are kept far
    19 away from the celebrities. Thus, there is very little opportunity for someone at a
    20 distance to actually discern that one’s much beloved celebrity is not drinking a
    21 Monster Energy® Branded Drink.
    22        83.    Defendants intend to, and in fact, perpetuate the perception of their

    23 consumers who attend these music and sports events that Monster Energy®
    24 Branded Drinks are safe for consumption.
    25        84.    Defendants do not sell or give away cans of Monster Tour Water

    26 except to the celebrity endorsers, their staff or trainers or their VIP guests. Indeed,
    27 Defendants strictly monitor who has access to Monster Tour Water. If Monster
    28 employees discover the endorsers’ staff or other personnel are handing out Tour
                                                                                            34
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 38 of 84 Page ID #:185




     1 Water cans to outsiders at events, they are removed or kicked out of the event.
     2 These facts together demonstrate Defendants’ intent to deceive the public into
     3 believing that (i) the celebrity endorsers are actually consuming Monster Energy®
     4 Branded Drinks when they are not; and (ii) that Monster Energy® Branded Drinks
     5 are so safe for regular consumption that the celebrity athletes and musicians
     6 consume it on a regular basis.
     7 G.     Defendants’ Labeling, Advertising and Marketing of Their Monster
     8        Energy® Branded Drinks Is False and Misleading and Fails Adequately
     9        to Warn of Dangers of Frequent and Excessive Consumption
    10        85.   Monster Energy® Branded Drinks contain significantly high amounts
    11 of caffeine, in addition to other stimulants, like guarana, which contain hidden
    12 amounts of additional caffeine. The amino acid – taurine – is also found in Monster
    13 Energy® Branded Drinks. Although the Company does not identify the amount of
    14 caffeine in each can, it has disclosed through other sources that one 16-oz. can of
    15 Monster Energy® contains approximately 160 milligrams of caffeine – the
    16 equivalent of four (4) 12-oz. cans of Coca-Cola, while the 24-oz. can contains 240
    17 milligrams of caffeine, or the equivalent of seven (7) cans of Coke.
    18        86.   Health experts have voiced concerns about energy drinks over the past
    19 few years, saying the caffeine content can be as high as 550 mg. The maximum
    20 allowable caffeine limit set by the FDA for cola-like drinks is 0.02%, or 71 mg per
    21 12-oz. serving. See Journal of the American Medical Association (“JAMA”) article,
    22 “The “High” Risk of Energy Drinks,” by Amelia M. Arria, Ph.D. and Marie Claire
    23 O’Brien, M.D., published online January 25, 2011. A December 2012 study by
    24 Consumer Reports found that Monster had more than 270 mg of caffeine in a 24-
    25 oz. can. At the time, Monster dismissed its finding claiming that the Company does
    26 not post caffeine amounts because “there is no legal or commercial business
    27 requirement to do so, and also because our products are completely safe, and the
    28 actual numbers are not meaningful to most consumers.”
                                                                                        35
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 39 of 84 Page ID #:186




     1        87.   Defendants have proven that they have marketing genius and this
     2 genius has been resoundingly rewarded by the market – both its shareholders and
     3 its consumers. Notwithstanding the high caffeine levels in Monster Energy®
     4 Branded Drinks and scientific evidence of the serious health risks that they pose,
     5 especially for the teenagers and youth that the Company specifically targets
     6 Monster Energy® Branded Drinks fail miserably in providing any warnings on its
     7 products as to the effects of frequent or excessive caffeine consumption to the
     8 teenagers and youth it targets.
     9        88.   The only notation that the Company has on a Monster Energy® can is
    10 hidden in fine print: “Consume responsibly – Max 1 can per four hours, with limit
    11 3 cans per day. Not recommended for children, people sensitive to caffeine,
    12 pregnant women or women who are nursing.”
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                                                       36
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 40 of 84 Page ID #:187




     1        89.   Monster Energy® Branded Drinks can labels have NO WARNING
     2 for the teenagers and adolescents the Company targets. Children are deemed to be
     3 persons under the age of 12. In a recent article, Monster claimed that its target
     4 market is 18 to 34 years old but that its drinks are nevertheless safe for children as
     5 well. In light of internal Company documents demonstrating that Monster’s
     6 marketing is intended for children and youth, this hardly is a credible safety
     7 endorsement. Moreover, Monster’s CEO Sacks and MEC President Hall consider
     8 energy drinks to be “the new soft drinks.”
     9        90.   Three 16-oz. cans contain, even by Defendants’ standards, more than
    10 480 mg of caffeine, significantly more than the 400 mg that that the FDA has
    11 stated is safe for healthy adults to consume. The safe level for adolescents
    12 according to the American Academy of Pediatrics is much lower – no more than
    13 100 mg of caffeine per day from all sources. According to the University of
    14 California, teenagers who consume more than 100 mg of caffeine per day are at an
    15 increased risk for high blood pressure. One study in Pediatrics, a medical journal,
    16 says, “Caffeine can be lethal in doses ranging from 200 to 400 milligrams,” and
    17 affects various organ systems by increasing heart rate, blood pressure, speech rate,
    18 motor activity, attentiveness and body temperature. Thus, drinking even one can of
    19 a Monster Energy® Branded Drink is unhealthy for an adolescent.
    20        91.   Remarkably, in a recent press release as well as during the Company’s
    21 recent earnings conference call, Monster executives continue to “reiterate that our
    22 products are safe based on both our and the industry’s long track record and the
    23 scientific evidence supporting the safety of our ingredients. We estimate that about
    24 50 billion cans of energy drinks have been sold and safely consumed worldwide
    25 over the past 25 years, including more than 8 billion Monster Energy drinks over
    26 the past 11 years.” This is simply untrue.
    27        92.   Monster Energy® Branded Drinks have been cited in the deaths of
    28 five people in the past year, according to incident reports that doctors and
                                                                                           37
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 41 of 84 Page ID #:188




     1 companies submit to the FDA. According to Shelly Burgess, an FDA
     2 spokeswoman, the reports said the victims consumed Monster Energy® Branded
     3 Drinks prior to their deaths. The five death reports, and a sixth in 2009, were
     4 among 37 adverse reaction reports since 2004 that mentioned Monster Energy®
     5 Branded Drinks, according to a log of incidents that health professionals,
     6 companies and the public voluntarily recorded with the FDA. See excerpt attached
     7 hereto as Exhibit B. The event reports linked to the Company claimed that some of
     8 the life-threatening illnesses were characterized by heart attack, chest pain and
     9 vomiting.
    10        93.   A November 2011 report by DAWN, produced under the auspices of
    11 the Department of Health and Human Services, showed a tenfold increase in ER
    12 visits linked to energy drinks from 2005 (1,128 visits) and 2008 and 2009 (16,053
    13 and 13,114 visits, respectively), representing about a tenfold increase, with about
    14 half those trips made by patients 18 to 25 years old. Meanwhile, sales of energy
    15 drinks have increased 240% in the same period. “Consumption of energy drinks is
    16 a rising public health problem because medical and behavioral consequences can
    17 result from excessive caffeine intake,” the report concluded. “A growing body of
    18 scientific evidence documents harmful effects, particularly for children,
    19 adolescents and young adults.”
    20        94.   A January 10, 2013 update to The DAWN Report (“DAWN Update”)
    21 reiterated its original conclusion that “energy drinks can be dangerous when used
    22 alone or in combination with other drugs or alcohol” and that “consumption of
    23 energy drinks is a rising public health problem because medical and behavioral
    24 consequences can result from excessive caffeine intake.” Further, it found that the
    25 number of emergency department (ED) visits involving energy drinks doubled
    26 from 10,068 visits in 2007 to 20,783 visits in 2011. In 2011, more than half of
    27 energy drink-related ED visits involved energy drinks only (58%), and the
    28 remaining 42% involved other drugs. The DAWN Update also noted that “In each
                                                                                        38
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 42 of 84 Page ID #:189




     1 year from 2007 to 2011, there were more patients aged 18 to 39 than patients in
     2 other age groups involved in energy drink-related visits; however, the largest
     3 increase was seen among patients aged 40 or older, for whom visits increased 279
     4 percent from 1,382 visits in 2007 to 5,233 visits in 2011.”
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
               95.    Although the dominant audience for Monster Energy® Branded
    22
         Drinks is made up of teens and people in their early 20s, the Dawn Update’s
    23
         research and findings suggest that older adults may also be vulnerable to the effects
    24
         of energy drinks, even though the drinks are marketed with claims of having a
    25
         positive impact on energy and concentration. Frequent consumption of Monster
    26
         Energy® Branded Drinks is harmful to people of all ages, as is apparent from the
    27
    28
                                                                                            39
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 43 of 84 Page ID #:190




     1 health issues that plaintiff Townsend had and continues to have from over five
     2 years of regular consumption of Monster Energy® Branded Drinks.
     3        96.   Health advocates and experts have been concerned about the use of
     4 energy drinks among adolescents and trying for some time now to draw attention
     5 to the issue of energy drink consumption by kids. In 2011, the Journal of
     6 Pediatrics published a report titled, “Health Effects of Energy Drinks on Children,
     7 Adolescents, and Young Adults” warning that the consequences of energy drink
     8 consumption included “palpitations, seizures, strokes, and even sudden death.” The
     9 authors also specifically warned parents that the drinks could be dangerous for kids
    10 with heart problems, diabetes, or ADHD (attention deficit hyperactivity disorder).
    11        97.   Recently, the parents in Maryland sued MBC claiming the drinks led
    12 to caffeine toxicity that killed their daughter. Fourteen year-old Anais Fournier,
    13 who had a pre-existing heart condition, went into cardiac arrest after drinking two
    14 24-oz. cans of the Monster Energy® Branded Drinks two days in a row in
    15 December 2011. She was pronounced brain dead six days later.
    16        98.   Earlier this year, the National Council of Sports and Fitness issued a
    17 report, “Youth and Energy Drinks,” warning that kids confuse energy drinks like
    18 Monster Energy® Branded Drinks with the sports drinks marketed by their sports
    19 heroes. Monster’s Rehab™ + Energy and Monster’s Rehab™ Tea + Lemonade +
    20 Energy energy drinks reinforce this confusion with the misrepresentation,
    21 “quenches thirst, hydrates like a sports drink.”
    22        99.   Sports drinks contain water, salt and sugar, and are designed to
    23 replenish the electrolytes and energy one’s body loses during exercise. Sports
    24 drinks do not contain chemicals that directly increase one’s energy levels as energy
    25 drinks do. Defendants’ product placement in the vicinity of sports drinks is also by
    26 design. See product placement below:
    27
    28
                                                                                         40
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 44 of 84 Page ID #:191




     1
     2
     3
     4
     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20        100. According to the 2009 Mayo Clinic study, convenience stores display

    21 energy drinks next to the sports drinks, which can mislead the consumer into
    22 thinking that they are similar products. The study notes that whereas sports drinks
    23 can indeed provide hydration and replenishment of electrolytes and carbohydrates,
    24 the elevated levels of caffeine in energy drinks have diuretic effects that increase
    25 urinary output and natriuresis (excretion of an excessively large amount of sodium
    26 in the urine). Additionally, according to the National Federation of High School
    27 Associations (NFHS), energy drinks supply an amount of carbohydrate far beyond
    28
                                                                                         41
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 45 of 84 Page ID #:192




     1 that is recommended for physically active people, which can slow the rate at which
     2 fluid is absorbed into the bloodstream or lead to gastrointestinal distress.
     3        101. Amelia M. Arria, Ph.D., an epidemiologist who serves as director of
     4 the Center on Young Adult Health and Development at the University of Maryland
     5 School of Public Health stated: “In my opinion, some of the marketing messages
     6 go overboard about the health benefits of these drinks. The term ‘energy drink’ is
     7 misleading. Energy should come from calories – this is more about stimulation.”
     8 Studies have shown almost 30% of college students consume energy drinks
     9 regularly, Dr. Arria said. The high concentrations of caffeine they contain can
    10 produce cardiovascular complications, especially in young people or those who are
    11 sensitive to caffeine, she said.
    12        102. According to a 2011 article by the American Academy of Pediatrics,
    13 of the 5,448 U.S. caffeine overdoses reported in 2007, 46% occurred in those
    14 younger than 19 years. The researchers of the 2011 study concluded, among other
    15 things that:
    16                        energy drinks have no therapeutic benefit, and both the
    17                         known and unknown pharmacology of various ingredients,
    18                         combined with reports of toxicity, suggest that these drinks
    19                         may put some children at risk for serious adverse health
    20                         effects;
    21                        typically, energy drinks contain high levels of caffeine,
    22                         taurine, and guarana, which have stimulant properties and
    23                         cardiac and hematologic activity, but manufacturers claim
    24                         that energy drinks are nutritional supplements, which shields
    25                         them from the caffeine limits imposed on sodas and the
    26                         safety testing and labeling required of pharmaceuticals; and
    27
    28
                                                                                          42
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 46 of 84 Page ID #:193




     1                       youth-aimed     marketing    and   risk   taking   adolescent
     2                        developmental tendencies combine to increase over-dose
     3                        potential.
     4        103. Most of these findings were reinforced in the February 2013 AAP
     5 Article, which was an evaluation by the Navy, Army and Air Force doctors of the
     6 current information about the content, benefits, and risks of the use of energy
     7 drinks by teens. These doctors expressed “great concern” over the safety and
     8 negative effects of energy drinks, given their high caffeine content and the
     9 common practice on college campuses (and most likely at the high school level as
    10 well) of mixing energy drinks with alcohol.
    11        104. The February 2013 AAP Article also noted:
    12              Caffeine use and withdrawal have been linked to a variety of
    13        health effects, including irritability, anxiety, mental confusion, hand
    14        and limb tremor, osteoporosis, digestive problems, nausea, insomnia
    15        and   sleepiness,    urinary   frequency,     headache,    palpitations,
    16        arrhythmias, and elevated blood pressure. Cardiovascular effects as a
    17        result of heavy caffeine use can be a significant source of morbidity in
    18        athletes. Hypertension and palpitations in the adolescent athlete often
    19        lead to extensive medical evaluations. The diuretic effect of high
    20        levels of caffeine could lead to dehydration in athletes who do not
    21        drink enough fluids to compensate.
    22        105. The February 2013 AAP Article also noted that caffeine remains on
    23 the World Anti-Doping Agency’s (WADA) closely monitored drug list even after
    24 being removed from its list of banned substances in 2004. WADA is reconsidering
    25 its ban on caffeine given a recent adverse outcome in an Australian football league
    26 athlete. Athletes in the league routinely take as many as six caffeine tablets as a
    27 game-day stimulant, and then take a sleeping pill to “come down.” A star player in
    28
                                                                                         43
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 47 of 84 Page ID #:194




     1 the league was rushed to the hospital with complications following ingestion of
     2 this pill cocktail.
     3        106. The February 2013 AAP Article remarked that the National Collegiate
     4 Athletic Association (NCAA) also considers caffeine illegal if found in quantities
     5 in the urine that approximate five to eight cups of coffee consumed in one hour.
     6 Depending on the brand, that is the equivalent of as few as one to three energy
     7 drinks.
     8        107. In late February 2013, U.S. Senator Dick Durbin (D-IL), U.S. Senator
     9 Richard Blumenthal (D-CT) and U.S. Representative Ed Markey (D-MA) sent
    10 letters to the President of the National Collegiate Athletic Association (NCAA) and
    11 the Executive Director of the NFHS raising concerns about the marketing of
    12 energy drinks at high school and collegiate athletic events and asking for more
    13 information on what the organizations are doing to ensure student-athletes and
    14 schools are educated about possible health risks of energy drinks and what steps
    15 they are taking to limit the presence of marketing for these products at athletic
    16 events.
    17        108. The Congressmen pointed out that “Energy drinks with names like
    18 Monster Energy, Red Bull, Rockstar, Full Throttle, and AMP frequently target
    19 young people with claims to increase energy, attention, stamina, and physical
    20 performance.” The letters noted that at some high school sporting events energy
    21 drinks are featured on scoreboards. They highlighted that “the practice of
    22 outstanding student-athletes at some high schools being awarded the ‘Monster
    23 Energy Drink Player of the Game’ often resulted in photos of these athletes being
    24 taken with a pack of Monster Energy in each hand.” The Congressmen also noted
    25 that this “targeted marketing of young people appears to be working, with
    26 estimates of 30 to 50 percent of adolescents reporting consumption of energy
    27 drinks.”
    28
                                                                                        44
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 48 of 84 Page ID #:195




     1        109. Citing the February 2013 AAP Article, the Congressmen remarked
     2 that the “cardiovascular effects as a result of heavy caffeine use can be a significant
     3 source of morbidity in athletes,” and, “given the unknown levels of caffeine and
     4 other poorly studied additives, there is significant risk associated with energy drink
     5 consumption that may outweigh the benefits in the adolescent consumer. . . . Other
     6 reports have pointed out that the ingredients found in these drinks can cause
     7 dehydration, irregular heartbeat, nausea, arrhythmia, and in some cases even
     8 death.”
     9        110. The Congressmen urged both NFHS and the NCAA to educate
    10 students, schools, and athletic departments about the potential health risks posed to
    11 young people by consuming energy drinks and to play a meaningful role in
    12 limiting the marketing of energy drinks to student athletes at school-sponsored
    13 events.
    14        111. According to medical experts at the Department of Psychiatry and
    15 Behavioral Sciences at The Johns Hopkins University School of Medicine, the
    16 consumption of energy drinks may increase the risk for caffeine overdose in
    17 caffeine abstainers as well as habitual consumers of caffeine from coffee, soft
    18 drinks, and tea due to the lack of adequate labeling. Many energy drinks do not
    19 label their product with the amount of caffeine or display warning labels advising
    20 proper use. Consequently, consumers may be completely unaware of the amount of
    21 caffeine they are ingesting.
    22        112. Additionally, the potential for acute caffeine toxicity due to
    23 consumption of energy drinks may be greater than other dietary sources of caffeine
    24 since many energy drinks are marketed with claims of performance enhancing
    25 effects although the existence and extent of such effects has not been conclusively
    26 established.
    27
    28
                                                                                            45
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 49 of 84 Page ID #:196




     1        113. The Federal Food, Drug and Cosmetics Act provides in section 201(n)
     2 (21 U.S.C. §321(n)) that affirmative representations are not the only factor relevant
     3 to whether labeling is misleading. Rather,
     4        in determining whether the labeling of an article is misleading there
     5        shall be taken into account (among other things), . . . the extent to
     6        which the labeling fails to reveal facts material in the light of such
     7        representations or material with respect to consequences which may
     8        result from the use of the article to which the labeling relates under
     9        the conditions of use prescribed in the labeling or advertising thereof
    10        or under such conditions of use as are customary or usual.
    11 21 U.S.C. §321(n).
    12        114. While touting the questionably positive qualities of Monster Energy®
    13 Branded Drinks, the Company fails to adequately warn of the dangers of frequent
    14 excessive consumption. Thus, the Company’s labeling of its Monster Energy®
    15 Branded Drinks is false and misleading.
    16 H.     Defendants’ Failure to Properly Label Monster Energy® Branded
    17        Drinks Has Caused Serious Bodily Injury to Consumers and Continues
    18        to Pose a Danger
    19        115. Monster Energy® Branded Drinks are targeted towards people with
    20 active lifestyles. They can, however, cause adverse health conditions, especially in
    21 teenagers and adolescents who are still in the process of developing.
    22        116. Monster Energy® Branded Drinks can raise one’s heart rate. The
    23 University of Washington reports that caffeine is a central nervous system
    24 stimulant and can increase one’s heart rate. According to the University of
    25 Alabama at Birmingham, guarana has three times the caffeine content as caffeine
    26 in coffee. According to The Johns Hopkins University, in a survey of 496 college
    27 undergraduate students, 19% of students indicated that they experienced heart
    28 palpitations from energy drinks. The American Heart Association confirms this,
                                                                                          46
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 50 of 84 Page ID #:197




     1 noting that people consuming two energy drinks everyday experienced blood
     2 pressure and heart rate increases. The American Heart Association states that
     3 energy drinks can pose an increased risk of heart problems during exercise, as
     4 one’s heart rate naturally increases on its own during physical activity. High blood
     5 pressure, also known as hypertension, puts one’s body at risk for numerous
     6 additional illnesses. Having high blood pressure can harden one’s arteries, strain
     7 one’s kidneys and cause permanent damage to one’s heart.
     8        117. In 2007, Wayne State University in Michigan conducted a study on
     9 how energy drinks might affect blood pressure and the heart. Participants, who
    10 were in their 20s, drank two energy drinks a day for seven days straight. The
    11 participants did not consume caffeine for two days prior to the study. Heart rates
    12 were measured each day within two hours of consuming the energy drinks, while
    13 the participants were sitting down and not engaged in any strenuous activity. The
    14 results showed that there was an average heart rate increase of 11% on the seventh
    15 day, an increase of up to seven beats per minute. Blood pressure also increased by
    16 over 7%, which signified the added pressure to the heart.
    17        118. James Kalus, Pharm.D., senior manager of Patient Care Services at
    18 Henry Ford Hospital in Detroit, Michigan, and a former Wayne State University
    19 researcher who led the study, feels that the increases in blood pressure and heart
    20 rate may be due to the caffeine and taurine in the drinks. “Thousands of young
    21 adults are using these drinks,” Dr. Kalus said. “Some are mixing the energy drinks
    22 with alcohol. We don’t necessarily know how much they are drinking at a time or
    23 whether they are drinking before exerting themselves playing basketball or
    24 dancing.” This is especially so since the marketing for energy drinks is combined
    25 with extreme sports, he said.
    26        119. Dr. Suzanne Steinbaum, a preventive cardiologist at Lenox Hill
    27 Hospital in New York City. “People may think that these energy drinks are healthy
    28 by the way they’re marketed,” she said. There are, however, 240 milligrams of
                                                                                         47
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 51 of 84 Page ID #:198




     1 caffeine in some of these drinks, Dr. Steinbaum said. “That’s seven times the
     2 amount of caffeine in a can of soda,” she added. Caffeine can increase the heart
     3 rate tremendously and drive blood pressure up, Dr. Steinbaum explained.
     4        120. Energy drinks cause drastic changes in energy levels. Caffeine’s
     5 primary effect on the body is to stimulate the nervous system, producing a burst of
     6 energy, but this is followed by a period of diminished energy. These episodes were
     7 referred to as jolts and crashes, respectively, in a study published by Nutrition
     8 Journal in October 2007. Results of this study, which included almost 500 college
     9 students, indicated that jolts and crashes were experienced by 29% of subjects who
    10 drank energy drinks. In addition, 22% experienced headaches and 19%
    11 experienced heart palpitations.
    12        121. The high sugar and caffeine content in Monster Energy® Branded
    13 Drinks can keep one wired for hours and cause sleep deprivation. Medline Plus
    14 reports that caffeine is absorbed by one’s body quickly and distributed through the
    15 bloodstream. From this point, it quickly accesses one’s brain. This can cause the
    16 caffeine to have an effect for hours after one drinks it. Monster Energy® Branded
    17 Drinks also contain additional ingredients such as carnitine, guarana, ginseng and
    18 taurine, each of which is believed to increase one’s energy which may be
    19 disruptive to sleep.
    20        122. Another side effect of Monster Energy® Branded Drinks is
    21 dehydration. Amy Peak, an assistant professor at Butler University’s College of
    22 Pharmacy and Health Sciences, reports that the combination of caffeine and
    23 guarana in energy drinks can lead to dehydration. According to Brown University,
    24 the caffeine in energy drinks acts as a diuretic and can leave one severely
    25 dehydrated. This is particularly concerning where one uses Monster Energy®
    26 Branded Drinks as a pre-workout dietary supplement.
    27        123. According to a 2009 study by the Mayo Clinic, regulation of energy
    28 drinks, including content labeling and health warnings are the laxest in the United
                                                                                        48
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 52 of 84 Page ID #:199




     1 States.4 According to the study, this absence of oversight has resulted in aggressive
     2 marketing of energy drinks, targeted primarily toward young men and openly
     3 promoting     psychoactive,   performance-enhancing,     and   stimulatory   effects.
     4 Alarmingly, energy drink consumption has been shown to be positively associated
     5 with high-risk behavior, including marijuana use, sexual risk taking, fighting,
     6 failure to use seat belts, and taking risks on a dare, as well as with smoking,
     7 drinking, problems stemming from alcohol abuse, and illicit drug use.
     8         124. There appears to be no alcohol in Monster Energy® Branded Drinks.
     9 However, Monster’s internal marketing documents demonstrate that the Company
    10 actively promotes the mixing of Monster Energy® Branded Drinks with alcohol
    11 under the heading “Mix it UP.” See Ex. A. Monster has special names for its mixed
    12 drinks, including: The Monster Rail, Jager Monster, Montini, Monster Screw, and
    13 others. Id. Monster even provides recipes on its website under the link Events &
    14 Nightlife. Id. Additionally, Monster has been working with Anheuser-Busch under
    15 its 2006 distribution agreement to ensure and expand the on-site availability of
    16 Monster Energy® Branded Drinks in restaurants, bars and nightclubs.
    17 Significantly, some clinical studies have demonstrated a relationship between
    18 energy drink consumption and alcohol abuse. According to a study published in the
    19
    20   4
           This is underscored by the FDA’s response to certain senators’ requests on the
    21   FDA to investigate health risks associated with mixing caffeine and other
         stimulants. The FDA said it had not found any safety studies that showed the mix
    22   of ingredients in energy drinks to be dangerous, but conceded that its preliminary
         review may be greatly enhanced by engaging specialized expertise outside the
    23   FDA, focusing particularly on the vulnerability of certain populations to
         stimulants and the incidence and consequence of excessive consumption of
    24   energy drinks, especially by young people. The FDA assured the senators that it
         was continuing its investigation and that if it did find such risks in its ongoing
    25   research into the products, it would consider taking regulatory action. Most
         importantly, the FDA acknowledged that resource and capacity constraints
    26   preclude the government or government-funded toxicity testing of all possible
         combinations.
    27
    28
                                                                                          49
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 53 of 84 Page ID #:200




     1 February 2011 issue of Alcoholism, Clinical and Experimental Research, energy
     2 drink consumption appears to be a risk factor for alcohol dependence. Specifically,
     3 college students who reportedly drank energy drinks daily or weekly, were more
     4 likely to report consuming alcohol more frequently and in greater amounts, than
     5 students who drank energy drinks less than once a week or not at all.
     6        125. According to a JAMA article entitled “The ‘High’ Risk of Energy
     7 Drinks” by Amelia M. Arria, Ph.D. and Marie Claire O’Brien, M.D., published
     8 online January 25, 2011,
     9        the practice of mixing energy drinks with alcohol – which is more
    10        widespread than generally recognized – has been linked consistently
    11        to drinking high volumes of alcohol per drinking session and
    12        subsequent serious alcohol-related consequences such as sexual
    13        assault and driving while intoxicated. Although consumers might be
    14        under the impression that caffeine counteracts the adverse effects of
    15        alcohol, research has demonstrated that individuals who combine
    16        energy drinks with alcohol underestimate their true level of
    17        impairment. Although any type of caffeine consumption after a
    18        drinking session might reduce sleepiness, it does not alleviate alcohol-
    19        related impairment. The state of being less likely to accurately
    20        appraise the true level of impairment has been labeled “wide-awake
    21        drunkenness” and can lead to engaging in risky behavior. Recent
    22        regulatory actions to encourage removal of caffeine from some
    23        premixed alcoholic energy drinks should alert consumers that mixing
    24        alcohol with highly caffeinated energy drinks carries similar health
    25        risks and that this practice is not comparable to consuming mixed
    26        drinks such as rum and Coke, which have much lower caffeine
    27        concentrations. A second major concern is that simultaneously
    28        consuming alcohol and energy drinks can prolong the drinking session
                                                                                         50
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 54 of 84 Page ID #:201




     1        by keeping the individual awake longer and therefore may lead to
     2        drinking much more alcohol than intended.
     3        126. The February 2013 AAP Article also pointed to a study of energy
     4 drink consumption among college students, which concluded that those who mixed
     5 energy drinks with alcohol often consumed three or more energy drinks.
     6        127. Adolescents who combine energy drinks with alcohol perceive less of
     7 an effect from alcohol. For example, one study noted that young adults who
     8 consumed energy drinks with alcohol felt fewer symptoms such as headache,
     9 weakness, and impaired muscular coordination. But these participants still were
    10 impaired in terms of motor coordination and visual reaction time. The study by Dr.
    11 O’Brien reported that 15% of adolescents mixed energy drinks with alcohol “to
    12 drink more and not feel as drunk,” and 5% of teens “did not want to look as
    13 drunk.”
    14        128. Drs. Arria and O’Brien suggest that regardless of whether energy
    15 drinks are mixed with alcohol, recent research suggests that, even after adjustment
    16 for potential confounders such as heavier drinking patterns, energy drink use might
    17 confer a risk for alcohol dependence and perhaps nonmedical prescription drug
    18 use. Based on their research, Drs. Arria and O’Brien find “[p]robably most
    19 concerning is the possibility that caffeine’s neuropharmacologic effects might play
    20 a role in the propensity for addiction. . . . [T]he message to health professionals,
    21 consumers, and the energy drink and alcohol industries should be clear: the
    22 consumption of energy drinks mixed with alcohol may have adverse health and
    23 safety consequences.”
    24 I.     Defendants Have Profited Immensely from Their False and Misleading
    25        Labeling and Advertising and Failure to Warn
    26        129. Defendants’ unique approach to labeling, print and internet
    27 advertising, promotion and general marketing of the Monster Energy® Branded
    28
                                                                                         51
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 55 of 84 Page ID #:202




     1 Drinks has been immensely profitable. MBC is one of the fastest growing public
     2 companies.
     3        130. Defendants boast that more than eight billion cans of Monster
     4 Energy® Branded Drinks have been sold and safely consumed in the United States
     5 and around the world since 2002; including more than two billion cans just in the
     6 year 2012.
     7        131. Indeed, of the Company’s two reportable segments – DSD, whose
     8 principal products comprise Monster Energy® Branded Drinks, and Warehouse,
     9 whose principal products comprise juice based and soda beverages – the
    10 Company’s DSD segment represented 95.4%, 94.4%, 93% and 91.4% of the
    11 Company’s consolidated net sales for the years ended December 31, 2012, 2011,
    12 2010 and 2009, respectively. Monster Energy Branded Drinks represented 92.1%,
    13 91.2%, 89.9% and 90% of the Company’s net sales for the years ended December
    14 31, 2012, 2011, 2010 and 2009, respectively. These figures demonstrate that
    15 Monster Energy® Branded Drinks are materially significant to the very existence
    16 of the Company.
    17        132. Further, in filings with the Securities and Exchange Commission, the
    18 Company stated that its gross profit for the year ended ending December 31, 2012
    19 was $1.066 billion, an increase of approximately $171.3 million, or 19.2% higher
    20 than 2011 gross profit of $894.3 million, which was 31.5% higher than in 2010.
    21 Monster admits that the increase in gross profit dollars for all these years was
    22 primarily the result of the increases in gross sales of Monster Energy® Branded
    23 Drinks.
    24        133. The Company’s public filings acknowledge the risk that because
    25 Monster Energy® Branded Drinks currently generate the vast majority of its sales
    26 (over 95% in 2012, over 94% in 2011, and over 93% in 2010), any criticism of the
    27 Monster Energy® Branded Drinks of the nutritional benefits the Monster Energy®
    28
                                                                                      52
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 56 of 84 Page ID #:203




     1 Branded Drinks, could result in decreased demand, which in turn could have a
     2 significant adverse effect on Monster’s future business and financial results.
     3        134. The Company also acknowledges that there are currently pending
     4 proposals to enact legislation to limit or restrict the sale of energy drinks generally
     5 to minors and/or persons below a specified age and/or restrict the venues in which
     6 energy drinks can be sold and/or restrict the use of food stamps and the like to
     7 purchase energy drinks. For example, in January 2013, Chicago Alderman Ed
     8 Burke proposed a ban on the sale and distribution of energy drinks (defined as “a
     9 canned or bottled beverage which has 180 milligrams or more of caffeine per
    10 single-serve container and contains Taurine or Guarana”) to all consumers, not just
    11 minors, in Chicago.
    12        135. In February 2013, Suffolk County, New York Legislator William
    13 Spencer proposed two local laws; one would ban the distribution of free samples of
    14 energy drinks (which the law would characterize as “stimulant drinks”) to
    15 individuals under the age of eighteen in that county, and the second would ban the
    16 sale or distribution of such drinks in Suffolk County parks.
    17        136. Defendants concede that should these proposals succeed, any such
    18 legislation would result in a reduction in demand for Monster Energy® Branded
    19 Drinks and adversely affect the Company’s profit margin. Thus, by its own
    20 admission, Monster Energy® Branded Drinks and their continued availability to all
    21 – even minors, teens, and youth – are vital to the Company’s continued success,
    22 and even to its very existence.
    23 J.     The Company’s Energy Drink Labeling Continues to Be Under
    24        Investigation
    25        137. For many years, Monster had evaded any meaningful regulation of its
    26 energy drinks by the FDA primarily by classifying Monster Energy® Branded
    27 Drinks as a “dietary supplement,” i.e., not a conventional “food” or “beverage.”
    28 Ordinarily the FDA evaluates the safety of ingredients for beverages or other
                                                                                            53
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 57 of 84 Page ID #:204




     1 conventional foods (including “energy drinks” represented as beverages, which are
     2 conventional foods) through food additive pre-market programs that generally
     3 focus on individual ingredients that may be used in a range of food, rather than on
     4 a product-specific basis. The FDA concedes that it does not have authority to
     5 require a manufacturer to submit each formulated product for pre-market review.
     6        138. Defendants have relied on this gray area to circumvent applicable
     7 standards by marketing the Monster Energy® Branded Drinks akin to a beverage
     8 or sports drink, but not being subject to regulation by classifying them as a “dietary
     9 supplement.” While competitors like Red Bull, NOS, Full Throttle and Amp
    10 marketed their energy drinks as beverages, until recently the Company marketed
    11 Monster Energy® Branded Drinks as dietary supplements.
    12        139. Two months after plaintiff Fisher filed the initial complaint in this
    13 matter, Monster announced on February 13, 2013, that it was changing the labeling
    14 on its Monster Energy® Branded Drink cans so that its energy drinks will no
    15 longer be considered dietary supplements, but a traditional beverage. Monster’s
    16 CEO Sacks stated that the Monster Energy® Branded Drink cans will now list
    17 “Nutrition Facts” rather than “Supplement Facts,” and disclose caffeine content.
    18        140. Monster’s senior executives claim that the change has not been
    19 implemented yet and will be put into effect as and when new packaging is
    20 manufactured and new products are introduced. They also stated that the
    21 ingredients currently in Monster Energy® Branded Drinks will remain the same.
    22 Monster defensively contends that the criticism leveled against the Company that it
    23 was evading FDA regulation is untrue because Monster Energy® Branded Drinks
    24 “could equally satisfy the regulatory requirements applicable to both regulatory
    25 categories [dietary supplement as well as traditional food].”
    26        141. Whether Monster’s claims are accurate remains to be seen. Dietary
    27 supplement manufacturers have greater leeway over what types of ingredients they
    28
                                                                                           54
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 58 of 84 Page ID #:205




     1 can include in their products, but also face more stringent reporting requirements
     2 when it comes to possible adverse effects on consumers. Monster will no longer
     3
         be required to report serious adverse events to the FDA because foods are not
     4
         subject to this requirement.
     5
               142. Although companies generally have more leeway in the ingredients
     6
         they can add to dietary supplements, with products considered to be food or drinks,
     7
         companies can only use ingredients that are approved food additives or that are
     8
         “generally recognized as safe” or GRAS. Although Monster claims that it plans to
     9
         keep its ingredients the same, it will be interesting to see how it plans to do so
    10
         under the new regulations. For instance, the FDA established a safe limit for
    11
         caffeine in cola-like beverages in 1959 at 200 parts per million (or 71 mg for a 12-
    12
         oz. can of soda, though an average can of Coke has only 35 mg of caffeine). Since
    13
         Monster Energy® Branded Drinks are currently classified as a dietary supplement,
    14
         they are not limited to the FDA’s 200 parts per million caffeine limit on sodas.
    15
         Coca Cola Classic has 30 to 35 mg of caffeine per 12-oz. can, but 12 oz. of the
    16
         Monster Energy® Branded Drinks contain four times that amount.
    17
               143. In July 2012, the Company was subpoenaed by the New York
    18
         Attorney General (“NYAG”) in connection with an investigation into its
    19
         advertising, marketing, promotion, ingredients, usage and sale of its Monster
    20
         Energy® Branded Drinks, specifically whether the Company was misleading
    21
         consumers about how much caffeine the drinks contain and the health risks they
    22
         could pose. The NYAG investigation focuses, among other things, on whether
    23
         Monster (and other companies) violated federal law in promoting the drinks as
    24
         dietary supplements rather than as foods, which are regulated more strictly.
    25
               144. State investigators are also examining whether all of the ingredients
    26
         that go into the beverages are properly disclosed particularly since some additives,
    27
    28
                                                                                           55
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 59 of 84 Page ID #:206




     1 like black tea extract and guarana, may contain additional caffeine that is not
     2 reflected when the drinks are labeled.
     3         145. In an October 31, 2012 letter, the City Attorney of San Francisco,
     4 Dennis J. Herrera, sent a letter to MBC demanding that the Company provide
     5 evidence that supports the advertising and marketing claims it makes to
     6 adolescents for its energy drinks and to substantiate its claim that large daily
     7 quantities of Monster Energy® Branded Drinks were safe for adolescents and
     8 adults, including claims that consumers of Monster Energy® Branded Drinks:
     9                         “[C]an never get too much of a good thing!”
    10                         “3 cans per day” of 16-oz. Monster is “responsible” or safe
    11                          consumption by adolescents and adults.
    12                         “[B]igger is better.”
    13                         “2 cans per day” of 24-oz. Monster is “responsible” or safe
    14                          consumption by adolescents and adults.
    15
                               Monster and Monster Mega are safe for consumption except
    16
                                for “children, pregnant women or people sensitive to
    17
                                caffeine.”
    18
               146. Mr. Herrera also echoed concerns that MBC seems to have chosen to
    19
         label its Monster Energy® Branded Drinks as a “dietary supplement” rather than as
    20
         a conventional food or beverage in an attempt to circumvent the safety standards
    21
         required for food and beverage additives. Mr. Herrera’s letter noted that Monster
    22
         Energy® Branded Drinks did not meet the definition of a “dietary supplement.”
    23
               147. As the FDA has explained, “the packaging of liquid products in
    24
         bottles or cans similar to those in which single or multiple servings or beverages
    25
         like soda, bottled water, fruit juices, and iced tea are sold, suggests that the liquid
    26
         product is intended for use as a conventional food.” Monster is marketed in a
    27
         single serving can similar in size, shape and appearance to conventional beverages.
    28
                                                                                              56
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 60 of 84 Page ID #:207




     1        148. Mr. Herrera also pointed out that the fact that MBC refers to its
     2 products as “Monster Energy® Branded Energy Drinks,” and states that “Monster
     3 Energy delivers ‘twice the buzz of a regular energy drink,’” belied any notion that
     4 “[MBC’s] products are not beverages.” Indeed, the Company’s public filings
     5 reinforce this – nowhere in its public filings does the Company refer to Monster
     6 Energy® Branded Drinks as a “dietary supplement.” In describing its signature
     7 Monster Energy® Branded Drink, the Company states: “In 2002, we launched a
     8 new carbonated energy drink under the Monster Energy® brand name in 16-ounce
     9 cans . . . . Our Monster Energy® drinks contain vitamins, minerals, nutrients, herbs
    10 and supplements (collectively, ‘supplement’) and are marketed through our full
    11 service distributor network.”
    12        149. In his letter, Mr. Herrera also noted that
    13        [d]espite exceedingly high caffeine levels, Monster Beverage
    14        Corporation encourages unsafe and irresponsible consumption of
    15        Monster Energy products. Monster’s labeling recommends that
    16        individuals consume no more than three 16 oz. cans or two 24 oz.
    17        cans per day, which amounts to a total of 48 oz. of Monster per day.
    18        But 48 oz. of Monster contains 480 mg of caffeine, nearly five times
    19        the caffeine that is safe for adolescents to consume in an entire day,
    20        and more than the 400 mg per day the FDA has indicated is safe for
    21        healthy adults.
    22        150. Mr. Herrera further noted that “[r]ather than warning consumers to
    23 exercise constraint or caution, Monster’s marketing states that ‘bigger is always
    24 better’ and ‘you can never get too much of a good thing.’” The Company urges
    25 consumers to “chug it down,” or “throw [it] back.” The Company states that its
    26 product has a “smooth flavor you can really pound down,” and that one of its
    27 products has “the biggest chugger friendly wide-mouth we could make.”
    28
                                                                                         57
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 61 of 84 Page ID #:208




     1        151. Many countries ban or restrict energy drink sales. Germany, Norway,
     2 France and Denmark among some of the countries that have banned the sale of
     3 energy drinks in their countries (only permitting sales in pharmacies classifying
     4 them as medicine for their high caffeine content). Germany has been tracking
     5 energy drink related health problems since 2002. Reported outcomes include: liver
     6 damage, kidney failure, respiratory disorders, agitation, seizures, psychotic
     7 conditions, heart failure, and death. Other countries with bans on energy drinks
     8 include: Australia, Denmark, Turkey, and Uruguay. In addition, Sweden, Norway
     9 and Canada have placed some sales restrictions on the drinks. Many more
    10 countries, including Nigeria, are reviewing possible restrictions/bans on energy
    11 drinks.
    12        152. Many countries require the Company to sell Monster Energy®
    13 Branded Drinks as food. In Canada, Monster Energy® Branded Drinks were
    14 recently reclassified as food, and thus are subject to regulation by Health Canada.
    15 On January 1, 2013, regulations took effect in Canada that limit the amount of
    16 caffeine contained in any beverage in a single-serving can or bottle to less than 180
    17 milligrams. Some countries levy a tax based on caffeine content. On January 1,
    18 2011, the Mexican legislature imposed a 25% excise tax on energy drinks based on
    19 caffeine content. In response Defendants adjusted the caffeine levels in Monster
    20 Energy® Branded Drinks that are sold in Mexico to address this legislation. In
    21 2011, Hungary implemented a tax on energy drinks and the Company’s Monster
    22 Energy® Branded Drinks sold in Hungary are subject to this tax.
    23                            CLASS ACTION ALLEGATIONS
    24        153. Pursuant to Federal Rule of Civil Procedure 23, Plaintiffs bring this
    25 class action and seeks certification of a class comprised of:
    26        All persons who, during the Class Period (December 12, 2008 to the
    27        present) purchased any Monster Energy® Branded Drinks for
    28
                                                                                          58
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 62 of 84 Page ID #:209




     1        personal use and not for purposes of further retail sale or distribution
     2        (referred hereinafter as the “Class”).
     3 For purposes of this class definition, the term “Monster Energy® Branded Drinks”
     4 includes Monster Energy®, Lo-Carb Monster Energy®, Monster Energy®
     5 Assault®, Monster Khaos®, Monster M-80®, Monster MIXXD®, Monster
     6 Energy® Absolutely Zero, Monster Energy® Import Light, Monster Energy® Dub
     7 Edition Baller’s Blend, Monster Energy® Dub Edition Mad Dog, Monster
     8 Rehab™ Tea + Lemonade + Energy, Monster Rehab™ Rojo Tea + Energy,
     9 Monster Rehab™ Green Tea + Energy, Monster Rehab™ Protean + Energy,
    10 Monster Energy® M3™ Super Concentrate, Java Monster® Kona Blend, Java
    11 Monster® Loca Moca®, Java Monster® Mean Bean®, Java Monster® Vanilla
    12 Light, Java Monster® Irish Blend®, Java Monster® Toffee, Monster Energy®
    13 Import, Monster Energy Extra Strength Nitrous Technology® Super Dry™,
    14 Monster Energy Extra Strength Nitrous Technology® Anti-Gravity®, Monster
    15 Energy Extra Strength Nitrous Technology® Killer B®, Monster Energy Extra
    16 Strength Nitrous Technology® Black Ice™, X-Presso Monster® Hammer, X-
    17 Presso Monster® Midnite, Übermonster® Energy Brew.
    18        154. Excluded from the definition of the Class are: Defendants,
    19 Defendants’ employees, any entity in which Defendants have a controlling interest
    20 or which holds a controlling interest in Defendants, including, but not limited to,
    21 any warehouses or distributors in which Defendants have a controlling interest
    22 during the Class Period and Defendants’ legal representatives, assigns and
    23 successors; all persons who make a timely election to opt out of the proposed
    24 Class, and governmental entities, including the Judge and the judicial staff
    25 assigned to this case.
    26        155. Subject      to   additional   information   obtained   through   further
    27 investigation and discovery, Plaintiffs may expand or narrow the foregoing
    28 definition by amendment or amended complaint, as permitted by the Court.
                                                                                          59
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 63 of 84 Page ID #:210




     1        156. Monster’s policies, practices, misrepresentations and omissions apply
     2 uniformly to all members of the Class, so that the questions of law and fact are
     3 common to all members of the Class. All members of the Class were and continue
     4 to be similarly affected by being subjected to the same labeling, advertising and
     5 marketing and by not receiving disclosure of the risks associated with consuming
     6 Monster Energy® Branded Drinks. The relief sought herein is for the benefit of
     7 Plaintiffs and members of the Class. Defendants’ marketing, advertising and
     8 promotional practices as detailed above applied uniformly to all members of the
     9 Class throughout the Class Period, so that the questions of law and fact detailed
    10 herein are common to all members of the Class.
    11        157. All Class members were and are similarly affected by purchasing
    12 Monster Energy® Branded Drinks for their intended and foreseeable purpose as
    13 promoted, advertised, packaged, and labeled by Defendants’ and as set forth in
    14 detail above.
    15        158. The proposed Class is so numerous that joinder of all members would
    16 be impracticable. Based on the annual sales of Monster Energy® Branded Drinks
    17 and their popularity, it is apparent that the number of consumers of Monster
    18 Energy® Branded Drinks would be so large as to make joinder impossible.
    19 Moreover, the Company concedes that it had sold over 8 billion cans of Monster
    20 Energy® Branded Drinks since 2002, and over two billion cans in 2012 alone.
    21        159. Questions of law and fact common to the Class exist that predominate
    22 over questions affecting only individual members, including, inter alia:
    23                 (a)   Whether Defendants’ practices, representations or omissions in
    24                       connection   with   the   packaging,   labeling,     advertising,
    25                       marketing, promotion and sale of Monster Energy® Branded
    26                       Drinks were false, misleading or likely to deceive or confuse
    27                       consumers;
    28
                                                                                            60
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 64 of 84 Page ID #:211




     1              (b)   Whether Defendants’ practices, representations or omissions in
     2                    connection     with   the    packaging,     labeling,    advertising,
     3                    marketing, promotion and sale of Monster Energy® Branded
     4                    Drinks violated the MMWA, 15 U.S.C. §2301, et seq.;
     5              (c)   Whether Defendants’ practices, representations or omissions in
     6                    connection     with   the    packaging,     labeling,    advertising,
     7                    marketing, promotion and sale of Monster Energy® Branded
     8                    Drinks was unfair, deceptive or unlawful or in any respect,
     9                    thereby violating California’s        Unfair Competition           Law
    10                    (“UCL”), Bus. & Prof. Code §17200, et seq.;
    11              (d)   Whether Defendants’ practices, representations or omissions in
    12                    connection     with   the    packaging,     labeling,    advertising,
    13                    marketing, promotion and sale of Monster Energy® Branded
    14                    Drinks was unfair, deceptive or unlawful or in any respect,
    15                    thereby violating California’s UCL, Bus. & Prof. Code §17500,
    16                    et seq.;
    17              (e)   Whether Defendants’ practices, representations or omissions in
    18                    connection     with   the    packaging,     labeling,    advertising,
    19                    marketing, promotion and sale of Monster Energy® Branded
    20                    Drinks violated the CLRA, Cal. Civ. Code §1750, et seq.;
    21              (f)   Whether Defendants failed to disclose, or adequately disclose,
    22                    the amount of caffeine in Monster Energy® Branded Drinks or
    23                    the risks associated with caffeine as used in Monster Energy®
    24                    Branded Drinks;
    25              (g)   Whether      Defendants     failed   to   disclose,     withheld    or
    26                    misrepresented material information regarding the health effects
    27                    on Monster Energy® Branded Drinks is an effort to deceive
    28                    consumers;
                                                                                              61
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 65 of 84 Page ID #:212




     1              (h)   Whether Defendants’ Monster Energy® Branded Drink labels
     2                    were false and misleading because they failed to warn
     3                    consumers of the risks of frequent or excessive consumption of
     4                    Monster Energy® Branded Drinks, including specifically the
     5                    teenagers and youth the Company targets;
     6              (i)   Whether Defendants acted intentionally in their deceptive and
     7                    false advertising, marketing, promotion and sale of Monster
     8                    Energy® Branded Drinks;
     9              (j)   Whether Defendants’ practices, representations or omissions
    10                    deceived or have the capacity to deceive;
    11              (k)   Whether Defendants breached express and implied warranties
    12                    in connection with the packaging, labeling, advertising,
    13                    marketing, promotion and sale of Monster Energy® Branded
    14                    Drinks;
    15              (l)   Whether Defendants knew or should have known of the false
    16                    and misleading nature of its advertising and labeling before
    17                    putting the Monster Energy® Branded Drinks subject to such
    18                    advertising and labeling into the stream of commerce for
    19                    purchase and use by Plaintiffs and the Class;
    20              (m)   Whether Defendants’ conduct described above resulted in ill-
    21                    gotten gains and, if so, the extent of the ill-gotten gains; and
    22              (n)   Whether Defendants’ conduct as set forth above injured
    23                    consumers and, if so, the nature and extent of the injury; and
    24              (o)   Whether, and to what extent, injunctive relief should be
    25                    imposed on Defendants to prevent such conduct in the future.
    26        160. The claims asserted by Plaintiffs in this action are typical of the
    27 claims of the members of the Class, as the claims arise from the same course of
    28 conduct by Defendants, and the relief sought is common. The misrepresentations
                                                                                             62
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 66 of 84 Page ID #:213




     1 and omissions as to Plaintiffs when they purchased Monster Energy® Branded
     2 Drinks are similar to the misrepresentations and omissions made to other Class
     3 members across the country. Plaintiffs and all Class members have suffered
     4 economic injury as a result of Defendants’ misrepresentations and omissions, and
     5 the Company has realized massive ill-gotten gains associated with the sale of its
     6 Monster Energy® Branded Drinks. Absent this class action, the members of the
     7 Class will continue to suffer losses and the violations of law described herein will
     8 continue without a practical remedy, and Defendants would unjustly retain the
     9 proceeds of their ill-gotten gains. Defendants continue to engage in the unlawful,
    10 unfair, and unconscionable conduct that is the subject of this Complaint.
    11        161. Plaintiffs will fairly and adequately represent and protect the interests
    12 of the members of the Class. Plaintiffs have retained counsel competent and
    13 experienced in both consumer protection and class action litigation. Plaintiffs and
    14 their counsel do not foresee any circumstances where the interests of Plaintiffs
    15 would be adverse to the interests of the Class.
    16        162. Certification of this class action is appropriate under Fed. R. Civ. P.
    17 23, because the questions of law or fact common to the respective members of the
    18 Class predominate over questions of law or fact affecting only individual members.
    19 This predominance makes a class action superior to other available methods for the
    20 fair and efficient adjudication of this controversy. It would be economically
    21 impractical for Plaintiffs and Class members to pursue individual actions against
    22 Defendants as the costs of prosecution would likely surpass their individual
    23 damages. Thus, Plaintiffs and Class members would be left with no effective
    24 remedy for the damages they suffered and continue to suffer. Class treatment of
    25 Plaintiffs’ claims will permit Plaintiffs and the Class to vindicate their rights
    26 against Defendants and conserve the resources of the Court and the Parties. Class
    27 treatment will also avoid the possibility of inconsistent outcomes that could result
    28 from a multitude of individual actions in varying jurisdictions nationwide.
                                                                                          63
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 67 of 84 Page ID #:214




     1        163. Certification also is appropriate because Defendants acted or refused
     2 to act on grounds generally applicable to the Class, thereby making appropriate the
     3 relief sought on behalf of the Class as a whole. Further, given the large number of
     4 consumers of Monster Energy® Branded Drinks, allowing individual actions to
     5 proceed in lieu of a class action would run the risk of yielding inconsistent and
     6 conflicting adjudications.
     7        164. A class action is a manageable, fair and appropriate method for the
     8 group-wide adjudication of this controversy in that it will permit a large number of
     9 claims to be resolved in a single forum simultaneously, efficiently, and without the
    10 unnecessary hardship that would result from the prosecution of numerous
    11 individual actions and the duplication of discovery, effort, expense and burden on
    12 the Courts that individual actions would engender.
    13        165. Plaintiffs know of no difficulty that will be encountered in the
    14 management of this litigation that would preclude maintenance as a class action.
    15 Moreover, the benefits of proceeding as a class action, including providing a
    16 method for obtaining redress for claims that would not be practical to pursue
    17 individually, outweigh any difficulties that might be argued with regard to the
    18 management of this class action.
    19                                     COUNT I
    20     For Violations of the UCL, Cal. Bus. & Prof. Code Section 17200, et seq.
    21        166. Plaintiffs repeat each and every allegation contained in the paragraphs
    22 above and incorporate by reference each preceding paragraph as though fully set
    23 forth at length herein.
    24        167. This cause of action is brought pursuant to California Business &
    25 Professions Code §17200, et seq., which provides that “unfair competition shall
    26 mean and include any unlawful, unfair or fraudulent business act or practice and
    27 unfair, deceptive, untrue or misleading advertising and any act prohibited by
    28
                                                                                         64
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 68 of 84 Page ID #:215




     1 Chapter I (commencing with Section 17500) of the Business and Professions
     2 Code.”
     3        168. Defendants’ practices, representations and omissions, as set forth
     4 above, were intended to promote the sale of Monster Energy® Branded Drinks and
     5 constitute unfair, deceptive and/or unlawful business practices within the meaning
     6 of California Business & Professions Code §17200, et seq.
     7        169. Defendants committed unfair business acts and/or practices. Nothing
     8 in Monster’s packaging, labeling, advertising, marketing, promotion or sale of
     9 Monster Energy® Branded Drinks disclosed, or adequately disclosed, the amount
    10 of caffeine in Monster Energy® Branded Drinks or the risks associated with
    11 caffeine as used in Monster Energy® Branded Drinks, as set forth in detail above.
    12        170. Statements on Defendants’ Monster Energy® Branded Drinks labels
    13 lack proper warnings, and are thus considered false, misleading and/or deceptive
    14 representations, practices or omissions. Defendants have consistently failed to
    15 disclose or warn consumers that Monster Energy® Branded Drinks may increase
    16 blood pressure and/or heart rate of consumers who ingest Monster Energy®
    17 Branded Drinks or that such drinks may cause nervousness, irritability, and/or
    18 sleeplessness, and that this failure to disclose or warn deceives or tends to deceive
    19 consumers. Consequently, consumers who purchase Defendants’ Monster
    20 Energy® Branded Drinks may experience an increase in blood pressure and/or an
    21 increase in their heart rate without having knowledge of such adverse reactions
    22 associated with drinking Monster Energy® Branded Drinks.
    23        171. Plaintiffs relied on the truth and accuracy of the labeling and
    24 marketing of Monster Energy® Branded Drinks, but based on the label’s failure to
    25 disclose, or adequately disclose, the amount of caffeine in the energy drinks or the
    26 risks associated with caffeine and other ingredients as used in Monster Energy®
    27 Branded Drinks, material facts that would have been substantial factors in
    28 Plaintiffs’ decision to purchase and consume Monster Energy® Branded Drinks for
                                                                                          65
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 69 of 84 Page ID #:216




     1 the reasons set forth above, Plaintiffs were deceived by Defendants into purchasing
     2 and paying for the Monster Energy® Branded Drinks as set forth above.
     3        172. The utility of Defendants’ practices, representations and omissions
     4 related to the packaging, labeling, advertising, marketing, promotion and sale of
     5 Monster Energy® Branded Drinks without disclosing, or adequately disclosing,
     6 that the amount of caffeine in Monster Energy® Branded Drinks or the risks
     7 associated with the proprietary energy blend as used in Monster Energy® Branded
     8 Drinks, is negligible, if there is any utility at all, when weighed against the harm to
     9 the general public, Plaintiffs and members of the Class.
    10        173. The harmful impact upon members of the general public and the Class
    11 – particularly the teenagers and youth the Company targets in its advertising,
    12 marketing and promotion campaign – who purchased and used Monster Energy®
    13 Branded Drinks outweighs any reasons or justifications by Defendants for the
    14 unfair business practices they employed to sell Monster Energy® Branded Drinks
    15 described herein, particularly considering the reasonably available alternatives.
    16        174. Defendants had an improper motive (profit before accurate marketing)
    17 at their intended audience in their practices, representations and omissions related
    18 to the packaging, labeling, advertising, marketing, promotion and sale of Monster
    19 Energy® Branded Drinks, specifically by implementing promotions and other
    20 marketing strategies designed to attract adolescents and youth, as set forth above.
    21        175. The use of such unfair business acts and practices was and is under
    22 the sole control of Defendants, and was deceptively hidden from members of the
    23 Class and the general public in their packaging, labeling, advertising, marketing,
    24 promotion and sale of Monster Energy® Branded Drinks.
    25        176. Defendants engaged in deceptive acts or practices by failing to
    26 disclose, or adequately disclose, to the consumers targeted by Defendants’
    27 advertising and promotional campaign, the amount of caffeine in Monster
    28 Energy® Branded Drinks or the risks associated with the frequent or excessive
                                                                                             66
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 70 of 84 Page ID #:217




     1 consumption of the proprietary energy blend as used in Monster Energy® Branded
     2 Drinks, and set forth in detail above.
     3        177. Defendants also engaged in deceptive acts or practices in labeling and
     4 describing Monster Energy® Branded Drinks in a manner as to appeal to pre-teens
     5 and teens, and by comparing favorably the “buzz” one gets from drinking Monster
     6 Energy® Branded Drinks to that obtained by drinking alcohol.
     7        178. Defendants engaged in deceptive acts or practices by promoting the
     8 stocking of Monster Energy® Branded Drinks near sports drinks and comparing
     9 the hydration benefits to sports drinks.
    10        179. These deceptive acts and practices had a capacity, tendency, and/or
    11 likelihood to deceive or confuse reasonable consumers into believing that Monster
    12 Energy® Branded Drinks posed no greater risk to the health of those who drank it
    13 than did other sports drinks, particularly given the existence of peer-reviewed
    14 scientific studies indicating the dangers of caffeinated energy beverages.
    15        180. Defendants also engaged in unlawful business practices by violating
    16 California’s False Advertising Law (“FAL”), the CLRA, the MMWA as well as
    17 state warranty laws, as set forth in detail below. The violations of these laws serve
    18 as predicate violations of this prong of the UCL.
    19        181. As a purchaser and consumer of Monster Energy® Branded Drinks,
    20 and as a member of the general public who purchased and used Monster Energy®
    21 Branded Drinks, Plaintiffs have standing and are entitled to and do bring this class
    22 action seeking all available remedies under the UCL.
    23        182. Pursuant to California Business & Professions Code §17203,
    24 Plaintiffs seek an order of this Court for injunctive relief and disgorging from
    25 Defendants and restoring to Plaintiffs and members of the Class all monies that
    26 may have been acquired by Defendants as a result of such unfair, deceptive and/or
    27 unlawful business acts or practices.
    28
                                                                                          67
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 71 of 84 Page ID #:218




     1        183. Plaintiffs, members of the Class and the general public may be
     2 irreparably harmed and/or denied an effective and complete remedy if such relief is
     3 not granted.
     4        184. As a result of Defendants’ violations of the UCL, Plaintiffs and
     5 members of the Class are entitled to restitution for out-of-pocket expenses and
     6 economic harm in terms of the price they paid for Monster Energy® Branded
     7 Drinks. Monster Energy® Branded Drinks retail for prices higher than sports
     8 drinks or other energy drinks.
     9        185. Pursuant to California Civil Code §3287(a), Plaintiffs and members of
    10 the Class are further entitled to pre-judgment interest as a direct and proximate
    11 result of Defendants’ wrongful conduct. The amount on which interest is to be
    12 applied is a sum certain and capable of calculation, and Plaintiffs and members of
    13 the Class are entitled to interest in an amount according to proof.
    14                                      COUNT II
    15        For Violations of the FAL, Bus. & Prof. Code Section 17500, et seq.
    16        186. Plaintiffs repeat each and every allegation contained in the paragraphs
    17 above and incorporate by reference each preceding paragraph as though fully set
    18 forth at length herein.
    19        187. In violation of California Business & Professions Code Section
    20 17500, Defendants have disseminated, or caused to be disseminated advertising,
    21 labeling, packaging, marketing, and promotion of Monster Energy® Branded
    22 Drinks that is deceptive because of its failure to warn of the particular dangers
    23 inherent in consuming a highly caffeinated beverage containing other additives to
    24 form a proprietary energy blend.
    25        188. Defendants compounded this deception by likening the effect of
    26 drinking Monster Energy® Branded Drinks to consuming alcohol in the
    27 advertising, packaging and labeling of Monster Energy® Branded Drinks, and by
    28 promoting the stocking of Monster Energy® Branded Drinks near sports drinks.
                                                                                        68
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 72 of 84 Page ID #:219




     1        189. These acts deceptively represented Monster Energy® Branded Drinks
     2 as posing no greater risk to the health of those who drank it than did sports drinks.
     3        190. Defendants’ representations and omissions for Monster Energy®
     4 Branded Drinks are by their very nature unfair, deceptive and/or unlawful within
     5 the meaning of California Business & Professions Code §17500, et seq., and were
     6 likely to deceive reasonable consumers.
     7        191. In making and disseminating the representation and omissions alleged
     8 herein, Defendants knew or should have known they were misleading, particularly
     9 given the existence of peer-reviewed scientific studies indicating the dangers of
    10 caffeinated energy drinks. Accordingly, Defendants acted in violation of California
    11 Business & Professions Code §17500, et seq.
    12        192. As a direct and proximate result of Defendants’ wrongful conduct,
    13 Plaintiffs and the Class members have suffered substantial harm.
    14        193. Pursuant to California Business & Professions Code §17535,
    15 Plaintiffs, on behalf of themselves and all others similarly situated, seek an order of
    16 this Court restoring all monies that may have been acquired by Defendants as a
    17 result of such deceptive acts and/or practices.
    18        194. As a result of Defendants’ violations of the FAL, Plaintiffs and the
    19 Class are entitled to restitution for out-of-pocket expenses and economic harm.
    20        195. Pursuant to California Civil Code §3287(a), Plaintiffs and members of
    21 the Class are further entitled to pre-judgment interest as a direct and proximate
    22 result of Defendants’ wrongful conduct. The amount on which interest is to be
    23 applied is a sum certain and capable of calculation, and Plaintiffs and members of
    24 the Class are entitled to interest in an amount according to proof.
    25
    26
    27
    28
                                                                                            69
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 73 of 84 Page ID #:220




     1                                      COUNT III
     2         For Violations of the CLRA, Cal. Civ. Code Section 1750, et seq.
     3        196. Plaintiffs repeat each and every allegation contained in the paragraphs
     4 above and incorporate by reference each preceding paragraph as though fully set
     5 forth at length herein.
     6        197. This cause of action is brought pursuant to the CLRA.
     7        198. Plaintiffs and each member of the Class are “consumers” within the
     8 meaning of California Civil Code §1761(d).
     9        199. The purchases of Monster Energy® Branded Drinks by Plaintiffs and
    10 each member of the Class were and are “transactions” within the meaning of
    11 California Civil Code §1761(e).
    12        200. Defendants have violated the CLRA by, among other things, their
    13 representations, practices and omissions in the labeling, advertising, marketing,
    14 promotion and sales of Monster Energy® Branded Drinks that Monster Energy®
    15 Branded Drinks were safe for consumption when they knew or had access to
    16 information that indicated that Defendants’ representations were false and
    17 misleading.
    18        201. Defendants’ labeling, advertising, marketing, promotion and sales of
    19 Monster Energy® Branded Drinks as alleged herein, violated Section 1770(a) of
    20 the CLRA in at least the following respects for the reasons set forth in detail above:
    21               (a)   Misrepresenting     the   source,   sponsorship,    approval,    or
    22                     certification of goods or services (Cal. Civ. Code §1770(a)(2));
    23               (b)   Representing that goods or services have sponsorship, approval,
    24                     characteristics, ingredients, uses, benefits, or quantities which
    25                     they do not have (Cal. Civ. Code §1770(a)(5));
    26               (c)   Representing that goods or services are of a particular standard,
    27                     quality, grade, or that goods are of a particular style or model, if
    28                     they are of another (Cal. Civ. Code §1770(a)(7));
                                                                                             70
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 74 of 84 Page ID #:221




     1              (d)    Advertising goods or services with intent not to sell them as
     2                     advertised (Cal. Civ. Code §1770(a)(9));
     3              (e)    Representing that a transaction confers or involves rights,
     4                     remedies, or obligations which it does not have or involve, or
     5                     which are prohibited by law (Cal. Civ. Code §1770(a)(14)); and
     6              (f)    Representing that the subject of a transaction has been supplied
     7                     in accordance with a previous representation when it has not
     8                     (Cal. Civ. Code §1770(a)(16)).
     9        202. As a result of the use or employment by Defendants of methods, acts
    10 or practices declared unlawful by the above provisions of Cal. Civ. Code §1770,
    11 Plaintiffs suffered damage in that they bought the Monster Energy® Branded
    12 Drinks and thus paid monies that they would not have expended had the true facts
    13 been accurately disclosed to them and had Monster Energy® Branded Drinks not
    14 been promoted as they were in light of the material adverse facts set forth above, or
    15 spent more money on Monster Energy® Branded Drinks than they otherwise
    16 would have. Plaintiffs therefore seek and are entitled to, on behalf of themselves
    17 and members of the Class, equitable relief in the form of an order for injunctive
    18 relief and requiring Monster to make full restitution of all monies wrongfully
    19 obtained as a result of the conduct described above.
    20        203. Pursuant to California Civil Code §1780(d), Plaintiffs request that this
    21 Court enjoin Defendants from continuing to employ the unlawful methods, acts,
    22 and practices alleged herein. If Defendants are not restrained from engaging in
    23 these types of practices in the future, Plaintiffs and other members of the Class will
    24 continue to suffer harm.
    25        204. Pursuant to California Civil Code §1782(a), Plaintiffs notified the
    26 Company, by certified letter dated December 12, 2012, received by Defendants on
    27 or about December 17, 2012, i.e., more than 30 days from the filing of this
    28 Amended Complaint, of the above-outlined violations of California Civil Code
                                                                                           71
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 75 of 84 Page ID #:222




     1 §1750, et seq., and demanded that Defendants provide an appropriate remedy.
     2 After 30 days, Defendants provided no response and have failed to adequately
     3 address or remedy the violations and other wrongful conduct alleged herein.
     4        205. As a direct and proximate result of Defendants’ violations of the
     5 CLRA as alleged herein, Plaintiffs and the members of the Class have been injured
     6 by, including, but not limited to, the infringement of their legal rights as a result of
     7 being subjected to the common course of unlawful conduct alleged herein; and
     8 being induced to purchase the Monster Energy® Branded Drinks that provided no
     9 benefit to them.
    10        206. Plaintiffs have also suffered injury in fact as a result of Defendants’
    11 conduct and have lost money in the form of payments made for the purchase of a
    12 product that, among other things, had uses or benefits which the Monster Energy®
    13 Branded Drinks did not have.
    14        207. In addition to restitution, Plaintiffs also separately seeks and are
    15 entitled to, pursuant to §1780(d) of the CLRA, an order for the equitable relief
    16 described above, as well as costs, attorneys’ fees and any other relief which the
    17 Court deems proper.
    18                                      COUNT IV
    19                      Breach of Express and Implied Warranty
    20        208. Plaintiffs repeat each and every allegation contained in the paragraphs
    21 above and incorporate by reference each preceding paragraph as though fully set
    22 forth at length herein.
    23        209. Plaintiffs and the Class purchased Monster Energy® Branded Drinks.
    24 By virtue of their purchases and the payment of monies, they formed a contract
    25 that included promises and affirmations made by Defendants through the labeling,
    26 packaging and accompanying advertising and marketing of the Monster Energy®
    27 Branded Drinks.
    28
                                                                                             72
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 76 of 84 Page ID #:223




     1        210. The labeling and packaging of Monster Energy® Branded Drinks
     2 constitutes express warranties that Monster Energy® Branded Drinks are the “ideal
     3 combo of the right ingredients in the right proportion,” “bigger is better . . .
     4 because you can never get too much of a good thing,” and “hydrates like a sports
     5 drink”. These warranties became part of the bargain between Plaintiffs and the
     6 Class on the one hand and Defendants on the other.
     7        211. Plaintiffs and the members of the Class relied upon Defendants’
     8 statements and Defendants’ research and investigation regarding the safety of the
     9 Monster Energy® Branded Drinks in purchasing and consuming them.
    10        212. Defendants intended to and did in fact, and continue to the present,
    11 target their marketing to teenagers and adolescents by handing out free samples of
    12 Monster Energy® Branded Drinks outside high schools, sports and music events
    13 without regard to the age of the recipient.
    14        213. Monster Energy® Branded Drinks were not fit for the purposes for
    15 which they were intended. The Monster Energy® Branded Drinks Plaintiffs
    16 consumed were neither safe for their intended use, nor of merchantable quality, in
    17 that they do not contain “the right ingredients in the right proportions,” bigger is
    18 not better and they do not hydrate like a sports drink. Defendants, thus, breached
    19 their express warranties with Plaintiffs and the Class, and they have been injured as
    20 a result.
    21        214. Defendants breached the following state warranty laws:
    22              1.     Alaska Stat. §45.02.313;
    23              2.     A.R.S. §47-2313;
    24              3.     A.C.A. §4-2-313;
    25              4.     Cal. Comm. Code §2313;
    26              5.     Colo. Rev. Stat. §4-2-313;
    27              6.     Conn. Gen. Stat. §42a-2-313;
    28              7.     6 Del. C. §2-313;
                                                                                          73
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 77 of 84 Page ID #:224




     1              8.    D.C. Code §28:2-313;
     2              9.    O.C.G.A. §11-2-313;
     3              10.   HRS §490:2-313;
     4              11.   Idaho Code §28-2-313;
     5              12.   810 ILCS 5/2-313;
     6              13.   Ind. Code §26-1-2-313;
     7              14.   K.S.A. §84-2-313;
     8              15.   KRS §355.2-313;
     9              16.   11 M.R.S. §2-313;
    10              17.   Mass. Gen. Laws Ann. ch. 106 §2-313;
    11              18.   Minn. Stat. §336.2-313;
    12              19.   Miss. Code Ann. §75-2-313;
    13              20.   R.S. Mo. §400.2-313;
    14              21.   Mont. Code Anno. §30-2-313;
    15              22.   Neb. Rev. Stat. §2-313;
    16              23.   Nev. Rev. Stat. Ann. §104.2313;
    17              24.   RSA 382-A:2-313;
    18              25.   N.J. Stat. Ann. §12A:2-313;
    19              26.   N.M. Stat. Ann. §55-2-313;
    20              27.   N.Y. U.C.C. Law §2-313;
    21              28.   N.C. Gen. Stat. §25-2-313;
    22              29.   N.D. Cent. Code §41-02-30;
    23              30.   ORC Ann. §1302.26;
    24              31.   12A Okl. St. §2-313;
    25              32.   Or. Rev. Stat. §72-3130;
    26              33.   13 Pa.C.S. §2313;
    27              34.   R.I. Gen. Laws §6A-2-313;
    28              35.   S.C. Code Ann. §36-2-313;
                                                                                   74
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 78 of 84 Page ID #:225




     1                36.   S.D. Codified Laws, §57A-2-313;
     2                37.   Tenn. Code Ann. §47-2-313;
     3                38.   Tex. Bus. & Com. Code §2.313;
     4                39.   Utah Code Ann. §70A-2-313;
     5                40.   9A V.S.A. §2-313;
     6                41.   Va. Code Ann. §59.1-504.2;
     7                42.   Wash. Rev. Code Ann. §62A.2-313;
     8                43.   W. Va. Code §46-2-313; and
     9                44.   Wyo. Stat. §34.1-2-313.
    10          215. As a result of Defendants’ breaches of express warranty, Plaintiffs and
    11 the other members of the Class were damaged in the amount of the purchase price
    12 they paid for the Monster Energy® Branded Drinks, in amounts to be proved at
    13 trial.
    14          216. Within a reasonable time after they knew or should have known of
    15 such breach, Plaintiffs placed Defendants on notice thereof.
    16          217. Whether or not expressly made, such warranties that the Monster
    17 Energy® Branded Drinks are fit for the purposes intended and are safe is implied
    18 by law in all consumer transactions.
    19          218. Unless excluded or modified, a warranty that the goods shall be
    20 merchantable is implied in a contract for their sale if the seller is a merchant with
    21 respect to goods of that kind. See U.C.C. §2-314; Cal. Com. Code §2314.
    22          219. Monster Energy® Branded Drinks are “goods,” as defined in the
    23 Uniform and California Commercial Code. U.C.C. §2-105(1).
    24          220. Plaintiffs and members of the Class are each a “Consumer” meaning
    25 an individual who buys or contracts to buy goods that, at the time of contracting,
    26 are intended by the individual to be used primarily for personal, family, or
    27 household purposes. U.C.C. §2-314.
    28
                                                                                          75
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 79 of 84 Page ID #:226




     1        221. As designers, manufacturers, licensors, producers, marketers, and
     2 sellers of the Monster Energy® Branded Drinks, the Company is a “merchant”
     3 within the meaning of the U.C.C. and California Commercial Code. U.C.C. §2-
     4 104(1); Cal. Com. Code §2104(1).
     5        222. By placing the Monster Energy® Branded Drinks in the stream of
     6 commerce, Defendants impliedly warranted that the Monster Energy® Branded
     7 Drinks are reasonably safe, effective and adequately tested for its intended use, i.e.,
     8 are fit for the ordinary purposes for which goods of that description are used and
     9 are adequately contained, packaged, and labeled.
    10        223. Defendants marketed and sold Monster Energy® Branded Drinks
    11 using misleading marketing materials emphasizing the positive aspects of the
    12 Energy Drinks while neglecting to inform the consumer of the risks associated
    13 with its consumption, including increased heart rate, high blood pressure,
    14 arrhythmia, dehydration, sleep deprivation and diarrhea.
    15        224. As merchants of the Monster Energy® Branded Drinks, Defendants
    16 knew that purchasers relied upon them to design, manufacture, license and sell
    17 products that were reasonably safe and effective. Defendants impliedly warranted
    18 to Plaintiffs and members of the Class that Monster Energy® Branded Drinks were
    19 of merchantable quality and safe and fit for the use for which they was intended.
    20 Plaintiffs and the Class reasonably relied entirely on Defendants’ expertise,
    21 knowledge, skill, judgment, and implied warranty in choosing to purchase and
    22 consume Monster Energy® Branded Drinks.
    23        225. Plaintiffs and the Class members purchased the Monster Energy®
    24 Branded Drinks for their intended purpose, i.e. for consumption.
    25        226. In breach of Defendants’ implied warranties, the Monster Energy®
    26 Branded Drinks are unsafe, ineffective and not merchantable for ways which
    27 include, but are not limited to the fact, that it can cause serious and even fatal
    28 health problems, that the caffeine content in the Monster Energy® Branded Drinks
                                                                                            76
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 80 of 84 Page ID #:227




     1 is dangerously high for consumption that frequent and excessive consumption may
     2 result in increasing heart rate, blood pressure, other cardiovascular complications,
     3 sleep deprivation and diarrhea, among others.
     4        227. Monster Energy® Branded Drinks are not reasonably safe for their
     5 intended use and the labels do not adequately warn of such dangers or disclose the
     6 caffeine content.
     7        228. Plaintiffs and the Class, who could not have known about the nature
     8 of the risks and side effects associated with Monster Energy® Branded Drinks
     9 until after they purchased or consumed them. Plaintiffs and members of the Class
    10 were repeat purchasers of Monster Energy® Branded Drinks since the high
    11 caffeine content is addictive. Moreover, the risks associated with consuming
    12 Monster Energy® Branded Drinks far outweigh any perceived benefits.
    13        229. By selling, delivering and/or distributing the defective Monster
    14 Energy® Branded Drinks to Plaintiffs and the Class, Defendants breached the
    15 implied warranty of merchantability and the implied warranty of fitness.
    16        230. As a direct and proximate result of Defendants’ breach of implied
    17 warranties, Plaintiffs and Class members have sustained injuries by purchasing the
    18 Monster Energy® Branded Drinks which were not safe or effective as represented,
    19 thus entitling Plaintiffs to judgment and equitable relief against Defendants, as well
    20 as restitution, including all monies paid for the Monster Energy® Branded Drinks.
    21                                      COUNT V
    22           For Violations of the MMWA, 15 U.S.C. Section 2301, et seq.
    23        231. Plaintiffs repeat each and every allegation contained in the paragraphs
    24 above and incorporate by reference each preceding paragraph as though fully set
    25 forth at length herein.
    26        232. Plaintiffs and Class members are “consumers” within the meaning of
    27 the MMWA.
    28
                                                                                           77
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 81 of 84 Page ID #:228




     1        233. The Company is a “supplier” and “warrantor” within the meaning of
     2 the MMWA.
     3        234. Monster Energy® Branded Drinks are “consumer products” within
     4 the meaning of the MMWA.
     5        235. Defendants’ written affirmations of fact, promises and/or descriptions,
     6 as alleged herein, are each a “written warranty” and/or there exists an implied
     7 warranty for the sale of Monster Energy® Branded Drinks within the meaning of
     8 the MMWA, i.e., that they are safe for consumption.
     9        236. The Company breached its warranties as Monster Energy® Branded
    10 Drinks were not fit for their intended use, and thereafter the Company has refused
    11 to honor any applicable warranties by refunding the price paid for such products
    12 despite demand therefor. Defendants’ conduct thereby caused damages to Plaintiffs
    13 and members of the Class.
    14        237. As a result of the Company’s breach of warranties, Plaintiffs and
    15 Class members have sustained damages and other losses in an amount to be
    16 determined at trial, as well as attorneys’ fees, rescission, and/or other relief as is
    17 deemed appropriate.
    18                                      COUNT VI
    19                                 Unjust Enrichment
    20        238. Plaintiffs repeat each and every allegation contained in the paragraphs
    21 above and incorporate by reference each preceding paragraph as though fully set
    22 forth at length herein.
    23        239. At all times relevant hereto, Defendants designed, manufactured,
    24 licensed, produced, promoted, marketed and/or sold the ineffective, dangerous and
    25 improperly labeled Monster Energy® Branded Drinks.
    26        240. Plaintiffs and members of the Class conferred a benefit upon
    27 Defendants by paying for a product with benefits that could not be provided or
    28 delivered and were not safe and effective as advertised. By means of their material
                                                                                           78
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 82 of 84 Page ID #:229




     1 misrepresentations and omissions, as set forth above, Defendants induced Plaintiffs
     2 and the Class to purchase Monster Energy® Branded Drinks that provided no
     3 substantial benefit to consumers, and actually may have caused significant
     4 detriment to their health and mental well-being. As a consequence of such
     5 misrepresentations and misconduct, Plaintiffs and the members of the Class paid
     6 monies to obtain the Monster Energy® Branded Drinks.
     7        241. Defendants voluntarily accepted and retained the benefit of the
     8 monies paid by Plaintiffs and the Class with full knowledge of the dangers of the
     9 Monster Energy® Branded Drinks and without adequately disclosing those risks.
    10        242. Defendants have been enriched, at the expense of Plaintiffs and the
    11 Class, by retaining monies for benefits, which they did not provide.
    12        243. Plaintiffs and the Class have no adequate remedy at law.
    13        244. It would be unjust and inequitable for Defendants to retain the profits,
    14 benefits, and other compensation obtained from its wrongful conduct as alleged
    15 herein.
    16                              PRAYER FOR RELIEF
    17        WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly
    18 situated, pray for judgment against Defendants as follows:
    19        A.    Certifying the Class as requested for all claims asserted herein;
    20        B.    Awarding Plaintiffs and the proposed Class members actual, statutory
    21 and punitive damages;
    22        C.    Awarding declaratory and injunctive relief as permitted by law or
    23 equity, including corrective labeling, advertising and marketing;
    24        D.    Ordering that Defendants be required to make full restitution of all
    25 monies wrongfully obtained as a result of the conduct described above and
    26 disgorge all ill-gotten gains flowing from the conduct described above;
    27
    28
                                                                                         79
         AMENDED COMPLAINT
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 83 of 84 Page ID #:230
Case 5:12-cv-02188-VAP-KK Document 20 Filed 03/07/13 Page 84 of 84 Page ID #:231




     1                                      halunen@halunenlaw.com
                                            coler@halunenlaw.com
     2                                      wolchansky@halunenlaw.com
     3                                      Attorneys for Plaintiffs and the [Proposed]
     4                                      Class

     5
     6
     7
     8
     9
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28
                                                                                     81
         AMENDED COMPLAINT
